Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 1 of 64 Page ID
                                 #:8890



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 16    Garcia, Andre Brown, and Shawn L. Fears
 17
                                 UNITED STATES DISTRICT COURT
 18
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 19
 20
    YONNEDIL CARROR TORRES,                          CASE NO. 2:20-cv-04450-CBM-PVCx
 21 et al.,
                                                     PLAINTIFF-PETIONERS’
 22                     Plaintiff-Petitioners,       RESPONSE TO DEFENDANTS-
                                                     RESPONDENTS’ STATEMENT OF
 23               vs.                                UNCONTROVERTED FACTS AND
                                                     CONCLUSIONS OF LAW IN
 24 LOUIS MILUSNIC, in his capacity as               SUPPORT OF MOTION FOR
    Warden of Lompoc, et al.,                        SUMMARY JUDGMENT
 25
               Defendant-Respondents.                Assigned to Hon. Consuelo B. Marshall
 26
                                                     Date: June 29, 2021
 27                                                  Time: 10:00am
                                                     Crtrm.: 8B
 28
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                                                 1
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 2 of 64 Page ID
                                 #:8891



  1               Pursuant to Central District of California Local Rule 56-1, Plaintiffs-
  2 Petitioners Yonnedil Carror Torres, Vincent Reed, Felix Samuel Garcia, Andre
  3 Brown, and Shawn L. Fears (“Petitioners”) submit this Response to Defendant-
  4 Respondents Louis Milusnic and Michael L. Carvajal’s (“Respondents”) Statement
  5 of Uncontroverted Facts and Conclusions of Law in support of their Motion for
  6 Summary Judgment.
  7                                                   I.
  8         PETITIONERS’ RESPONSE TO RESPONDENTS’ STATEMENT OF
  9                                  UNCONTROVERTED FACTS
 10
          STATEMENT OF GENUINE DISPUTES OF MATERIAL FACT (“DF”)
 11
 12    DEFENDANT-RESPONDENTS’                          PLAINTIFFS’-PETITIONERS’
 13    PROPOSED FACT:                                  RESPONSES
 14
       1. Jessica Figlenski, the Central               DISPUTED. Respondents have
 15
       Office Quality Improvement/Infection            proposed an opinion, not a fact.
 16    Prevention & Control Consultant                 Moreover, Petitioners dispute the facts
       responsible for the Western Region              upon which Ms. Figlenski’s, Mr.
 17
       within the Federal Bureau of Prisons            Cross’s, and Mr. Engleman’s belief is
 18    (BOP), Lawrence Cross, the Health               based. Respondents have violated, and
       Services Administrator at the Federal           continue to violate, CDC
 19
       Correctional Complex in Lompoc,                 recommendations for correctional
 20    California (“FCC Lompoc”), and                  facilities in a number of ways,
       James Engleman, the Associate                   including by failing to conduct
 21
       Warden at FCC Lompoc, believe that              screening/surveillance testing of staff,
 22    the BOP has followed guidance and               see infra Petitioners’ Additional
       directives from the CDC, World Health           Uncontroverted Facts (“AUF”) 7-9, 65-
 23
       Organization (WHO), the Office of               66, 74, failing to require staff exposed
 24    Personnel Management (OPM), the                 to COVID-19 to quarantine or undergo
       Department of Justice (DOJ), and the            testing for COVID-19, see infra AUF
 25
       White House in responding to the                10, 67-71, failing to regularly test
 26    COVID- 19 pandemic.                             incarcerated workers, see infra AUF
                                                       13-14, 72, failing to ensure social
 27
                                                       distancing, see infra AUF 29, 31, 73,
 28                                                    failing to provide soap to incarcerated
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 3 of 64 Page ID
                                 #:8892



  1
       DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
  2    PROPOSED FACT:                          RESPONSES
  3
                                               people, see infra AUF 29, 75; DF 89,
  4                                            and failing to ensure conditions in
  5                                            quarantine/isolation units are non-
                                               punitive, see infra AUF 36, 37.
  6                                            Respondents have also failed to
  7                                            implement the many recommendations
                                               from the CDC to encourage those
  8                                            living and working at Lompoc to get
  9                                            vaccinated against COVID-19. See
                                               infra AUF 38-47, 49-54, 77-85.
 10
 11    2. On August 31, 2020, the BOP          NOT DISPUTED.
 12    released a COVID-19 Pandemic
       Response Plan that compiles previous
 13    guidance, including all phases of its
 14    Action Plan, and provides a
       comprehensive document with specific
 15    guidance for limiting the spread of
 16    COVID- 19 at BOP institutions.
 17
       3. The COVID-19 Pandemic                DISPUTED. The BOP’s COVID-19
 18    Response Plan contains eleven modules   Pandemic Response Plan is not
 19    incorporating guidance from the         consistent with CDC guidance
       Centers for Disease Control (CDC),      regarding testing of staff and
 20    World Health Organization (WHO),        incarcerated workers. See DF 1.
 21    and the Department of Justice (DOJ).
 22
       4. Jessica Figlenski, the Central       DISPUTED. Respondents have
 23    Office Quality Improvement/Infection    proposed an opinion, not a fact.
 24    Prevention & Control Consultant         Moreover, Petitioners dispute the facts
       responsible for the Western Region      upon which Ms. Figlenski’s belief is
 25
       within the BOP, believes that FCC       based. See DF 1.
 26    Lompoc has been operating in
       compliance with the CDC’s guidance
 27
       and with the BOP’s COVID-19
 28
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 4 of 64 Page ID
                                 #:8893



  1
       DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
  2    PROPOSED FACT:                               RESPONSES
  3
       Pandemic Response Plan.
  4
  5    5. Jessica Figlenski, the Central            DISPUTED. Respondents have
  6    Office Quality Improvement/Infection         proposed an opinion, not a fact.
       Prevention & Control Consultant              Moreover, Petitioners dispute the facts
  7    responsible for the Western Region           upon which Ms. Figlenski’s belief is
  8    within the BOP, believes that FCC            based. See DF 1.
       Lompoc has prevented further COVID-
  9    19 outbreaks, like the one that occurred
 10    in the spring of 2020, and COVID- 19
       related deaths by implementing a host
 11    of measures, including broad-based
 12    testing and adherence to evolving CDC
       guidelines for infection prevention and
 13    control (such as cohorting and isolation
 14    procedures enacted after testing every
       inmate).
 15
 16    6. Epidemiologist Asma Tekbali               DISPUTED. Respondents have
 17    believes that FCC Lompoc effectively         proposed an opinion, not a fact.
       slowed the spread of COVID-19                Moreover, Petitioners dispute the facts
 18    through its infection control measures       upon which Ms. Tekbali’s belief is
 19    by collaborating with local health           based, see DF 1, and dispute that Ms.
       departments, adapting to and                 Tekbali is qualified to opine as an
 20    implementing pandemic guidance from          expert on Lompoc’s infection control
 21    the CDC and the BOP, constructing a          practices.
       COVID-19 hospital unit, and providing
 22    masks and materials for hand hygiene         Ms. Tekbali has no firsthand
 23    to inmates, and offering vaccination to      knowledge of Lompoc’s COVID-19
       essentially all of the inmates and staff.    response practices. She took few, if
 24                                                 any, steps to corroborate the
 25                                                 information that she included in either
                                                    of her two reports, information which
 26                                                 she received from the BOP’s other
 27                                                 expert, Dr. Beard, or from just three
                                                    members of prison leadership. She did
 28                                                 not speak with anyone incarcerated at
      3723164.1
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 5 of 64 Page ID
                                 #:8894



  1
       DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
  2    PROPOSED FACT:                          RESPONSES
  3
                                               Lompoc, did not interview staff
  4                                            assigned to work in the housing units,
  5                                            and did not review anyone’s individual
                                               healthcare records.
  6
                                               Additionally, Ms. Tekbali has never
  7                                            held a position in a correctional
  8                                            facility, Declaration of Asma Tekbali
                                               (“Tekbali Decl.”) ¶ 1 & Ex. A (Dkt.
  9                                            No. 251-3), has no experience in
 10                                            correctional healthcare delivery, id.,
                                               and has never been past the
 11                                            administrative area in any federal,
 12                                            state, county, or municipal correctional
                                               institution, Declaration of Sara Norman
 13
                                               (“Norman Decl.”), filed herewith, ¶ 4
 14                                            & Ex. 3 (Deposition of Asma Tekbali
                                               (“Tekbali Dep.”) at 21:22-22:18). She
 15
                                               is also not a medical doctor. Tekbali
 16                                            Decl. ¶ 1, Ex. A. She graduated from
                                               her Masters Program in 2019 and has
 17
                                               since only had one position in the field
 18                                            of infection prevention, which she
                                               began in August 2019. Id.
 19
 20                                            See, e.g., Tekbali Dep. at 26:10-13
                                               (testifying that she did not interview
 21                                            anyone incarcerated at Lompoc before
 22                                            submitting either of her reports), 31:21-
                                               32:6, 13-15; 47:18-25; 48:8-14
 23                                            (admitting she only spoke with two
 24                                            members of prison leadership before
                                               drafting her first report and one other
 25                                            member of prison leadership before
 26                                            drafting her second report), 38:2-5 (“I
                                               did not take any steps to corroborate”
 27                                            officers are compliant with mask
 28                                            policies), 46:15-21 (“I didn’t speak
      3723164.1
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 6 of 64 Page ID
                                 #:8895



  1
       DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
  2    PROPOSED FACT:                             RESPONSES
  3
                                                  with anybody specifically about
  4                                               soap.”), 46:22-47:1 (“I could not
  5                                               physically be there to visualize any
                                                  soap dispensers”) 54:17-24 (testifying
  6                                               that she “did not take steps to
  7                                               corroborate” that an incarcerated
                                                  person with COVID-19 at Lompoc was
  8                                               asymptomatic before including it her
  9                                               report), 56:14-17 (“I did not” “review
                                                  any contact tracing worksheets to
 10                                               verify” contract tracing occurred before
 11                                               concluding it did), 101:8-15 (conceding
                                                  that she does not know how
 12                                               incarcerated people can ask health
 13                                               providers about vaccine-related
                                                  questions), 103:9-14; 104:1-4
 14                                               (admitting that she did not review any
 15                                               documentation about people who
                                                  refused the vaccine and later accepted
 16                                               it, despite including information in her
 17                                               report about it).

 18    7. COVID-19 infection rates                NOT DISPUTED.
       increased throughout California from
 19
       November 2020 through February
 20    2021.
 21
 22    8. Los Angeles County experienced          NOT DISPUTED.
       over 1.2 million confirmed COVID-19
 23    cases to date.
 24
 25    9. California has had over 3.6 million NOT DISPUTED.
       total confirmed positives to date.
 26
 27    10. Epidemiologist Asma Tekbali            DISPUTED. Respondents have
 28    believes that the presence of 0 positive   proposed an opinion, not a fact.
      3723164.1
                                                  6
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 7 of 64 Page ID
                                 #:8896



  1
       DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
  2    PROPOSED FACT:                             RESPONSES
  3
       inmate cases at FCC Lompoc as of           Moreover, Petitioners dispute the facts
  4    March 20, 2021 in contrast to the state    upon which Ms. Tekbali’s belief is
  5    of the COVID-19 pandemic in                based and dispute that Ms. Tekbali is
       California is proof that FCC Lompoc        qualified to opine as an expert on
  6    has effectively slowed the spread of       Lompoc’s infection control practices.
  7    COVID-19 and evidence that the             See DF 6, 12.
       BOP’s infection control measures have
  8    been successful at FCC Lompoc.
  9
 10    11. Epidemiologist Asma Tekbali            DISPUTED. Respondents have
       believes that no major outbreak            proposed an opinion, not a fact.
 11    emerged within FCC Lompoc in early         Moreover, Petitioners dispute the facts
 12    2021, and nothing comparable to the        upon which Ms. Tekbali’s belief is
       rates of infection that were experienced   based and dispute that Ms. Tekbali is
 13    by the general populace outside the        qualified to opine as an expert on
 14    facility over that period.                 Lompoc’s infection control practices.
                                                  See DF 6.
 15
 16    12. As of May 25, 2021, there are 0        DISPUTED. Petitioners do not dispute
 17    inmate or staff COVID-19 cases at          that Respondents had not identified any
       FCC Lompoc.                                active COVID-19 infections at Lompoc
 18                                               as of May 25, 2021. However,
 19                                               Petitioners dispute Respondents’ ability
                                                  to identify all COVID-19 cases at
 20                                               Lompoc on any given day, as
 21                                               Respondents are not conducting regular
                                                  surveillance testing of all staff and
 22                                               incarcerated people. See Declaration of
 23                                               Jessica Figlenski (“Figlenski Decl.”) ¶
                                                  5 & Ex. 1 (Dkt. No. 251-2 at 12-24), ¶
 24                                               9 & Ex. 2 (Dkt. No. 251-2 at 33) (BOP
 25                                               policy does not require surveillance
                                                  testing of staff or incarcerated people);
 26                                               AUF 7, 9, 10.
 27
 28    13. Epidemiologist Asma Tekbali             DISPUTED. Respondents have
      3723164.1
                                                  7
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 8 of 64 Page ID
                                 #:8897



  1
       DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
  2    PROPOSED FACT:                             RESPONSES
  3
       believes that while positive tests         proposed an opinion, not a fact.
  4    occurred at FCC Lompoc earlier in          Moreover, Petitioners dispute the facts
  5    2021, they were limited to the intake of   upon which Ms. Tekbali’s belief is
       new inmates, and so did not lead to any    based and dispute that Ms. Tekbali is
  6    new outbreaks in the general               qualified to opine as an expert on
  7    population at the facility, despite the    Lompoc’s infection control practices.
       large surge in COVID-19 rates during       See DF 6.
  8    the same period outside the facility,
  9    which provides further proof that the
       infection control measures FCC
 10    Lompoc implemented have been
 11    effective and proper.

 12
       14. The first confirmed case of            NOT DISPUTED.
 13    COVID-19 at FCC Lompoc was an
 14    inmate from USP Lompoc who was
       swabbed at the local hospital on March
 15    26, 2020 and the positive results were
 16    reported to FCC Lompoc on March 30,
       2020.
 17
 18    15. After confirmation of the first case   DISPUTED. Respondents have not
 19    of COVID-19 at USP Lompoc, FCC             consistently conducted contact
       Lompoc took immediate action and           investigations, isolated patients, or
 20    began conducting a contact                 screened and tested positive contacts. A
 21    investigation and screening and testing    report published by the Office of the
       positively identified contacts.            Inspector General (OIG) in July 2020
 22                                               detailed the failures of Lompoc’s early
 23                                               pandemic response. In one case,
                                                  medical staff did not test or isolate an
 24                                               incarcerated person who, for days,
 25                                               reported to medical staff that he had
                                                  symptoms consistent with COVID-19.
 26                                               Before his admission to the community
 27                                               hospital, he had exposed other people
                                                  in his housing unit to COVID-19 for
 28
      3723164.1
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 9 of 64 Page ID
                                 #:8898



  1
       DEFENDANT-RESPONDENTS’                    PLAINTIFFS’-PETITIONERS’
  2    PROPOSED FACT:                            RESPONSES
  3
                                                 nearly a week. In another case,
  4                                              institution leadership failed to notify a
  5                                              staff member that he had been a close
                                                 contact of another COVID-positive
  6                                              staff member. See Norman Decl. ¶ 15
  7                                              & Ex. 14 (OIG Report at 5-6, 9). The
                                                 OIG report also indicates that staffing
  8                                              shortages limited Lompoc’s ability to
  9                                              conduct regular COVID-19 symptom
                                                 screenings. See id. (OIG Report at i).
 10
 11    16. Inmates found to test positive were   DISPUTED. Lompoc has not
 12    isolated and exposed inmates were         consistently monitored people in
       quarantined and monitored for             isolation or quarantine units for
 13    symptoms.                                 symptoms of COVID-19. During his
 14                                              September 2020 site visit, the Court
                                                 Expert determined that people in
 15                                              quarantine or isolation units often only
 16                                              had their temperatures checked, but
                                                 they were not monitored for any other
 17                                              symptoms of COVID-19. Court Expert
 18                                              Init. Report ¶¶ 20(d), 25(c), 37(a)(iii)
                                                 (Dkt. No. 101-1). Similarly, he
 19                                              observed that some people in medical
 20                                              isolation did not even receive daily
                                                 temperature checks, at times “going
 21                                              days in between clinical assessments.”
 22                                              Id. at ¶ 20(c).
 23
       17. Mass testing at FCI Lompoc took       NOT DISPUTED.
 24    place on May 5, 2020.
 25
 26    18. COVID-19 negative inmates were        NOT DISPUTED.
       cohorted in a dedicated unit at the USP
 27    (which has cells instead of open-bay
 28    dormitories) to prevent further
      3723164.1
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 10 of 64 Page ID
                                  #:8899



   1
        DEFENDANT-RESPONDENTS’                   PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                           RESPONSES
   3
        transmission of the disease among
   4    those testing negative.
   5
   6    19. Since the mass testing in May of     DISPUTED. Lompoc has not
        2020, inmate testing at FCC Lompoc       consistently administered COVID-19
   7    has been conducted in accordance with    tests to incarcerated people in
   8    the BOP’s COVID-19 Pandemic              accordance with the BOP’s COVID-19
        Response Plan Module 3, Screening        Pandemic Response Plan Module 3,
   9    and Testing.                             Screening and Testing. The Court
  10                                             Expert detailed in his first report that
                                                 many symptomatic people were “not
  11                                             isolated and tested expeditiously,” as
  12                                             required by the BOP’s COVID-19
                                                 Pandemic Response Plan Module 3.
  13                                             Instead, he reported that, upon relaying
  14                                             to medical staff that they were
                                                 symptomatic, many people were
  15                                             “initially rebuffed by medical staff,
  16                                             being told that they had a cold, the flu
                                                 or that they needed to ‘wait and see’
  17                                             before being evaluated by a physician
  18                                             or tested.” Court Expert Init. Report
                                                 ¶ 20(f) (Dkt. No. 101-1).
  19
  20    20. Section 2 of Module 3 of the         NOT DISPUTED.
  21    COVID-19 Pandemic Response Plan
        requires that symptomatic inmates be
  22    isolated and tested expeditiously and
  23    asymptomatic inmates with known or
        suspected contact with a COVID-19
  24    case be quarantined and tested
  25    expeditiously.
  26
        21. Section 2 of Module 3 of the         NOT DISPUTED.
  27    COVID-19 Pandemic Response Plan
  28    provides that expanded testing of all
       3723164.1
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        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 11 of 64 Page ID
                                  #:8900



   1
        DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                              RESPONSES
   3
        inmates in an entire open bay housing
   4    unit should be considered as part of a
   5    robust contact tracing.

   6
        22. FCC Lompoc continues to conduct         NOT DISPUTED that Lompoc tests
   7    testing in accordance with the BOP’s        incoming and outgoing inmates.
   8    testing protocols, which include testing
        all incoming and outgoing inmates in
   9    accordance with BOP Pandemic
  10    Response Plan Module 4, Inmate
        Isolation and Quarantine.
  11
  12    23. FCC Lompoc also has protocols to        NOT DISPUTED.
  13    determine when to test inmates within
        the institution’s general population
  14    because of contact investigation.
  15
  16    24. The testing of all inmates releasing    DISPUTED. Lompoc does not
        or transferring out of FCC Lompoc           conduct surveillance testing, which the
  17    serves as random surveillance testing       BOP defines as “testing all inmates at
  18    of the institution’s general population.    an institution without any known
                                                    COVID-19 cases.” Figlenski Decl.,
  19                                                Ex. 2 (Dkt. No. 251-2) (BOP’s
  20                                                COVID-19 Pandemic Response Plan
                                                    Module 3, Screening and Testing). See
  21                                                also Norman Decl. ¶ 5 & Ex. 4
  22                                                (Deposition of Dr. Homer Venters
                                                    (“Venters Dep.”) at 266:6-13) (Court
  23                                                Expert opining that surveillance testing
  24                                                is not being done at Lompoc).
  25
        25. As part of intake procedures, all       NOT DISPUTED.
  26    inmates who entered FCC Lompoc
  27    after the initial outbreak entered
        quarantine units and were tested as
  28
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        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 12 of 64 Page ID
                                  #:8901



   1
        DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                              RESPONSES
   3
        determined by existing BOP testing
   4    protocols.
   5
   6    26. No later than August 10, 2020,          NOT DISPUTED.
        FCC Lompoc tested all incoming
   7    inmates, isolated positive inmates,
   8    quarantined negative inmates, and re-
        tested quarantined inmates on or after
   9    the 14th day of their quarantine period.
  10
  11    27. These inmates were transferred into NOT DISPUTED.
        the institution’s general population
  12    only if they either had cleared
  13    quarantine by having a repeated
        negative test result or, if positive, after
  14    completing the isolation period and
  15    being cleared by medical staff.
  16
        28. Incoming inmates have no contact      NOT DISPUTED.
  17    with inmates in the institution’s general
  18    population until they clear quarantine
        or isolation.
  19
  20    29. As of May 19, 2021, FCC Lompoc          NOT DISPUTED.
  21    has conducted over 5,479 COVID-19
        tests on 1,722 inmates.
  22
  23    30. All five of the FCC Lompoc            NOT DISPUTED.
  24    inmates who died of COVID-related
        illness contracted the disease during the
  25    March-May 2020 outbreak at FCC
  26    Lompoc.
  27
        31. FCC Lompoc has not had an inmate NOT DISPUTED.
  28
       3723164.1
                                                   12
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 13 of 64 Page ID
                                  #:8902



   1
        DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                               RESPONSES
   3
        hospitalized for COVID-related illness
   4    since August 20, 2020.
   5
   6    32. FCI Lompoc has not had a COVID- DISPUTED. See DF 12.
        19 case in its general population since
   7    September 25, 2020.
   8
   9    33. USP Lompoc has not had a                 DISPUTED. See DF 12.
        COVID-19 case in its general
  10    population since December 31, 2020.
  11
  12    34. The last lab-confirmed case of           NOT DISPUTED.
        COVID-19 at FCC Lompoc occurred
  13    in FCC Lompoc’s intake quarantine
  14    with a newly arriving inmate on March
        26, 2021 and was detected as part of
  15    the BOP’s intake quarantine process.
  16
  17    35. The BOP’s COVID-19 Pandemic              NOT DISPUTED.
        Response Plan, Module 11, Employee
  18    Management, provides guidance for
  19    staff testing, including the
        identification of testing sites in the
  20    local community, requiring staff who
  21    test positive to report their diagnosis to
        the BOP, and indications and priorities
  22    for testing.
  23
  24     36. The BOP’s Pandemic Response            NOT DISPUTED.
         Plan requires staff to report positive
  25     test results, requires asymptomatic staff
  26     who test positive to wait at least 10
         days before reporting to work, and sets
  27
         forth an algorithm for when
  28     symptomatic staff may return to work
       3723164.1
                                                   13
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 14 of 64 Page ID
                                  #:8903



   1
        DEFENDANT-RESPONDENTS’                        PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                                RESPONSES
   3
        (with staff who have been hospitalized
   4    being required to wait at least 20 days
   5    since the appearance of symptoms
        before they return to work.
   6
   7    37. The BOP’s procedures do not               NOT DISPUTED.
   8    permit staff with positive test results to
        report to work until the appropriate
   9    CDC time-based guidance permits
  10    them to return.

  11
        38. As set forth in Section E of Module NOT DISPUTED.
  12    11 of the Pandemic Response Plan, the
  13    BOP has established a nationwide
        contract with Quest Diagnostics to
  14    facilitate COVID-19 testing for all
  15    BOP employees, including those at
        FCC Lompoc, via self-swab collection
  16    kits.
  17
  18    39. Staff members that meet indications       DISPUTED. The extent to which
        for testing specified in Module 11 can        Respondents makes COVID-19 tests
  19    obtain a collection kit from the              available to such staff on a voluntary
  20    institution, complete the test, and return    basis is unclear. Respondents’ person
        it via Federal Express to the Quest           most knowledgeable on this fact was
  21    Diagnostics labs for processing.              unable to confirm whether “they’ve
  22                                                  had staff that have taken advantage of
                                                      the opportunity or not.” Norman Decl.
  23                                                  ¶ 2 & Ex. 1 (Deposition of Bryan
  24                                                  Birkholz, Respondents’ designee
                                                      pursuant to Federal Rule of Civil
  25                                                  Procedure 30(b)(6) (“Respondents’
  26                                                  PMK Dep.”) at 64:4-11). In an email
                                                      dated December 11, 2020 and produced
  27                                                  by Respondents, Lompoc’s Health
  28                                                  Services Administrator stated “the
       3723164.1
                                                     14
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 15 of 64 Page ID
                                  #:8904



   1
        DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                               RESPONSES
   3
                                                     process is meant to be a last resort, or
   4                                                 another avenue, for staff to obtain
   5                                                 COVID-19 testing if they are
                                                     unsuccessful in the community. We
   6                                                 will not have test kits on hand to
   7                                                 distribute to staff.” Norman Decl. ¶ 10
                                                     & Ex. 9 (LOX 1473).
   8
   9    40. Staff at FCC Lompoc have access          NOT DISPUTED.
  10    to their test results through a secure
        online portal provided by Quest
  11    Diagnostics.
  12
  13    41. Quest Diagnostics provides           NOT DISPUTED.
        immediate notification to the staff
  14    member in the event of a positive test
  15    via a telephone call and overnight mail.
  16
        42. FCC Lompoc employees are                 NOT DISPUTED.
  17    obligated to report positive test results
  18    and are directed not to report to work.
  19
        43. Quest Diagnostics also provides a        NOT DISPUTED.
  20    nightly aggregate report of staff results
  21    to the BOP.
  22
        44. COVID-19 testing provided by             NOT DISPUTED.
  23    Quest Diagnostics is available at no
  24    charge to BOP staff.
  25
        45. During the initial outbreak at FCC       NOT DISPUTED
  26
        Lompoc in the spring of 2020, the
  27    BOP’s Infection Prevention staff
        coordinated a staff testing clinic with
  28
       3723164.1
                                                    15
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 16 of 64 Page ID
                                  #:8905



   1
        DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                             RESPONSES
   3
        the local health department at a nearby
   4    local health clinic.
   5
   6    46. Furthermore, as individuals            NOT DISPUTED.
        working in a prison, all FCC Lompoc
   7    staff have access to COVID-19 testing
   8    free of charge from dozens of other
        locations in the community, including
   9    Rite-Aid and CVS pharmacies.
  10
  11    47. FCC Lompoc administered its first      NOT DISPUTED.
        doses of the Pfizer COVID-19 vaccine
  12    to inmates from December 28, 2020,
  13    through December 31, 2020.
  14
        48. Pursuant to the BOP’s COVID-19         NOT DISPUTED.
  15    Vaccine Guidance dated December 28,
  16    2020, vaccinations were offered to
        FCC Lompoc staff first to decrease the
  17    possible introduction of COVID-19
  18    into the institution, and any remaining
        vaccinations were offered to FCC
  19    Lompoc inmates.
  20
  21    49. As there were not enough               NOT DISPUTED.
        remaining doses to vaccinate all of the
  22    facility’s inmates, the institution’s
  23    medical staff offered vaccinations to
        inmates as set forth in the BOP’s
  24    national guidance.
  25
  26    50. Priority for vaccination is based      NOT DISPUTED.
        upon the nature of the housing
  27
        (prioritizing open bay over celled
  28    housing) and the inmate’s individual
       3723164.1
                                                  16
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 17 of 64 Page ID
                                  #:8906



   1
        DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                             RESPONSES
   3
        priority levels (1 – 4) which take into
   4    account whether inmates are health
   5    service unit workers, their age, and
        whether they meet the CDC criteria for
   6    being at increased risk for severe
   7    illness from COVID-19.

   8
        51. In offering vaccines to inmates in  NOT DISPUTED.
   9    December 2020, FCC Lompoc started
  10    offering vaccines to inmates at the USP
        Camp and FCI as those living spaces
  11    consist of open- bay dorms.
  12
  13    52. In December 2020, all inmates at    NOT DISPUTED.
        USP North Camp and South Camp
  14    were offered the vaccine and inmates at
  15    the FCI in J Dorm and K Dorm were
        offered the vaccine.
  16
  17    53. From December 28 through 31,           NOT DISPUTED.
  18    2020, medical staff at FCC Lompoc
        administered 429 doses of the Pfizer-
  19    BioNTech COVID- 19 Vaccine
  20    (“Pfizer vaccine”).
  21
        54. On March 1, 2021, FCC Lompoc      NOT DISPUTED.
  22    received a second batch of vaccine.
  23    This batch of vaccine was the Moderna
        vaccine. FCC Lompoc received 600
  24    doses.
  25
  26    55. On April 23, 2021, FCC Lompoc          NOT DISPUTED.
        received another batch of the Pfizer
  27
        vaccine. FCC Lompoc received 110
  28
       3723164.1
                                                  17
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 18 of 64 Page ID
                                  #:8907



   1
       DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
   2   PROPOSED FACT:                          RESPONSES
   3
       doses.
   4
   5   56. As of April 26, 2021, FCC Lompoc NOT DISPUTED.
   6   had offered the vaccine to all inmates
       at FCC Lompoc, with the exception of
   7   two inmates who were in pre-release
   8   quarantine who were not scheduled to
       be at FCC Lompoc for the
   9   administration of the second dose of
  10   vaccine.

  11
       57. Petitioner Vincent Reed received    NOT DISPUTED.
  12   the first dose of the Moderna vaccine
  13   on March 4, 2021, and has tested
       negative as recently as November 16,
  14   2020, though he previously had a
  15   positive lab result on a specimen
       collected March 30, 2020.
  16
  17   58. Petitioner Yonnedil Carror-Torres   DISPUTED. Mr. Torres was not
  18   was offered the vaccine on April 9,     educated about the vaccine and was not
       2021, educated and given the            given the opportunity to ask questions.
  19   opportunity to ask questions of the     See Declaration of Yonnedil Carror
  20   infection control nurse at FCC Lompoc   Torres (“Torres Decl.”), filed herewith,
       and elected to refuse the vaccine.      ¶¶ 2-4.
  21
  22   59. Mr. Carror-Torres has not had a     NOT DISPUTED.
  23   laboratory test confirming he has
       COVID-19, though he has been tested
  24   multiple times, most recently on
  25   January 25, 2021, with negative
       findings each time.
  26
  27
       60. As of May 19, 2021, 241 out of 438 DISPUTED. Petitioners dispute this
  28 staff members have been fully            proposed fact to the extent that
     3723164.1
                                             18
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 19 of 64 Page ID
                                  #:8908



   1
        DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                               RESPONSES
   3
        vaccinated through the BOP. This             Respondents claim that members of
   4    number does not account for staff            Lompoc staff have, in fact, received
   5    members who have received                    vaccinations through community
        vaccinations through community               sources. That fact is not supported by
   6    sources.                                     evidence. Lompoc does not currently
   7                                                 track staff vaccination rates unless the
                                                     vaccination occurred via the BOP.
   8                                                 Court Expert Supp. Report ¶ 11 (Dkt.
   9                                                 No. 239-1); Respondents’ PMK Dep. at
                                                     50:19-51:1.
  10
  11    61. As of May 19, 2021, 1091 out of          NOT DISPUTED.
  12    1,862 inmates have been fully
        vaccinated.
  13
  14    62. As of May 19, 2021, 729 inmates          NOT DISPUTED.
  15    have refused the vaccine.
  16
        63. As of May 19, 2021, there are no         NOT DISPUTED.
  17    inmates at FCC Lompoc who have not
  18    yet been offered the vaccine.
  19
        64. FCC Lompoc is offering the               NOT DISPUTED.
  20    vaccine to newly arrived inmates at
  21    their intake into the facility upon their
        arrival.
  22
  23    65. The inmates are then placed in           NOT DISPUTED.
  24    BEMR scheduling and the vaccination
        is ordered from the BOP’s Central Fill
  25    and Distribution Center in Pollack,
  26    Louisiana. The BOP has shifted from a
        spoke and wheel allocation system to a
  27
        system in which FCC Lompoc can
  28    order the specific number of vaccine
       3723164.1
                                                    19
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 20 of 64 Page ID
                                  #:8909



   1
        DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                             RESPONSES
   3
        doses needed for newly arrived staff
   4    and inmates and any inmates or staff
   5    who change their mind and indicate
        they now wish to receive the vaccine.
   6
   7    66. 72.82% of the inmates at FCC           DISPUTED. Respondents’ failure to
   8    Lompoc have either recovered from          track chronic or long-term COVID-19
        COVID-19 or are previously COVID-          symptoms makes it impossible to
   9    19 naïve inmates who have been fully       determine the number of incarcerated
  10    vaccinated.                                people who tested positive from
                                                   COVID-19 and have “recovered.”
  11                                               Court Expert Supp. Report ¶ 11 (Dkt.
  12                                               No. 239-1). There is no evidence in the
                                                   record demonstrating Respondents’
  13                                               knowledge of whether COVID-19
  14                                               patients have recovered. Respondents’
                                                   only support for this proposed fact is a
  15                                               conclusory assertion by Ms. Figlenski,
  16                                               which cites a collection of data from an
                                                   unidentified source. Figlenski Decl.
  17                                               ¶ 25, Ex. 6 (Dkt. No. 251-2).
  18
  19    67. When inmates at FCC Lompoc are         DISPUTED. Incarcerated people at
        offered the COVID-19 vaccine, they         Lompoc do not have an opportunity to
  20    are provided a form by a medical           ask questions about the vaccine when
  21    provider in the event they refuse          they are offered it. Rather, as the Court
        vaccination and have the opportunity to    Expert found, incarcerated people at
  22    ask questions about the vaccine.           Lompoc report that “when they tried to
  23                                               ask questions about the safety of the
                                                   vaccine, or posed questions about their
  24                                               own health or medication issues in
  25                                               relation to the vaccine, they were told
                                                   to either take the vaccine or sign a
  26                                               refusal form.” Court Expert Supp.
  27                                               Report ¶ 19(a), 9 (Table 1) (Dkt. No.
                                                   239-1). See also Torres Decl. ¶¶ 2-4;
  28
       3723164.1
                                                  20
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 21 of 64 Page ID
                                  #:8910



   1
        DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                              RESPONSES
   3
                                                    Declaration of Albert Lee Mitchell
   4                                                (“Mitchell Decl.”), filed herewith, ¶¶ 3-
   5                                                4.

   6
        68. There is abundant signage about the     DISPUTED. Petitioners dispute the
   7    vaccine throughout the institution and      assertion that signage about the vaccine
   8    educational materials on the                is “abundant.” See Norman Decl. ¶ 3 &
        TRULINCS system in both Spanish             Ex. 2 (Deposition of Jeffery Beard
   9    and English to educate inmates about        (“Beard Dep.”) at 149:25, 150:1-3)
  10    the vaccine. FCC Lompoc has the             (Respondents’ expert’s unawareness of
        ability to translate vaccine information    prevalence of signage throughout
  11    into any language that is needed.           Lompoc). Petitioners dispute the
  12                                                second sentence of UF 68 to the extent
                                                    it asserts that Lompoc has translated
  13                                                any vaccine information into a
  14                                                language other than English or Spanish.
                                                    See Respondents’ PMK Dep. at 36:24-
  15                                                25, 37:1-8.
  16
  17    69. Additional staff was sent to FCC        DISPUTED. Documents produced by
        Lompoc to assist with vaccine               Respondents demonstrate the presence
  18    administration and vaccine education.       of staff to assist with vaccine
  19                                                administration, not with vaccine
                                                    education. See Norman Decl. ¶ 9 & Ex.
  20                                                8 (LOX 1265) (internal correspondence
  21                                                between Regional Health Services
                                                    Administrator and Lompoc’s Health
  22                                                Services Administrator regarding
  23                                                “available staff trained to conduct
                                                    COVID-19 vaccinations” and “assume
  24                                                clinical duties”; no reference to specific
  25                                                duties around vaccine education).
                                                    Respondents cite only Ms. Figlenski’s
  26                                                assertion in support of the proposed
  27                                                fact. DF 69, citing Figlenski Decl. ¶ 26
                                                    (Dkt. No. 251-2). As the Court Expert
  28
       3723164.1
                                                   21
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 22 of 64 Page ID
                                  #:8911



   1
        DEFENDANT-RESPONDENTS’                   PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                           RESPONSES
   3
                                                 found, “there appears little effort
   4                                             focused on engaging staff and
   5                                             incarcerated people about their
                                                 questions or concerns regarding the
   6                                             vaccine.” Court Expert Supp. Report
   7                                             ¶ 28(a) (Dkt. No. 239-1).

   8
        70. FCC Lompoc is continuing to          DISPUTED. The Court Expert’s
   9    engage with inmates who previously       conversations with both staff and
  10    refused the vaccine to provide           incarcerated people confirmed that
        education and information about the      Lompoc is not engaging with
  11    vaccine.                                 incarcerated people who have refused
  12                                             the vaccine to provide education and
                                                 information about the vaccine. The
  13                                             Court Expert found that staff “reported
  14                                             no efforts to identify and follow up
                                                 with high-risk patients who refused
  15                                             vaccination,” Court Expert Supp.
  16                                             Report ¶ 28(a) (Dkt. No. 239-1), and
                                                 that “[n]one of the people who refused
  17                                             the vaccine reported being
  18                                             subsequently contacted by health staff
                                                 to discuss their reasons for refusal and
  19                                             none of them reported that their refusal
  20                                             or vaccine questions had been
                                                 addressed in their subsequent health
  21                                             encounters.” Id. ¶ 19(a). See also
  22                                             Torres Decl. ¶¶ 2-4; Mitchell Decl.
                                                 ¶¶ 3-4.
  23
  24    71. To date, between 30 to 40 inmates    NOT DISPUTED.
  25    who initially refused the vaccine
        changed their minds when it was re-
  26    offered.
  27
  28    72. Those inmates who refused the        DISPUTED. Petitioners dispute
       3723164.1
                                                22
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 23 of 64 Page ID
                                  #:8912



   1
        DEFENDANT-RESPONDENTS’                   PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                           RESPONSES
   3
        vaccine have received and will           assertions made in the second and third
   4    continue to receive additional           sentences of this proposed fact. As to
   5    opportunities to be vaccinated. The      the second sentence, as the Court
        BOP is evaluating the reasons inmates    Expert found in his supplemental tour,
   6    are hesitant to accept the vaccine.      “[n]o surveys of staff or incarcerated
   7    Inmates have the ability to submit a     people had been conducted to date
        request to medical staff for more        regarding COVID-19 vaccination per
   8    information or to ask questions about    the team.” Court Expert Supp. Report
   9    the vaccine and those in chronic care    ¶ 11 (Dkt. No. 239-1). Contrary to
        are being counseled at their chronic     Respondents’ claim that the BOP is
  10    care appointments.                       evaluating the reasons that incarcerated
  11                                             people are hesitant to accept the
                                                 vaccine, the Court Expert found that
  12                                             Lompoc, a BOP institution, is not
  13                                             engaging with incarcerated people to
                                                 determine why they are refusing the
  14                                             vaccine. As to the third sentence,
  15                                             Petitioners dispute the assertion that
                                                 incarcerated people in chronic care are
  16                                             being counseled about the COVID-19
  17                                             vaccines at their chronic care
                                                 appointments. According to the Court
  18                                             Expert, “[n]one of the people who
  19                                             refused the vaccine . . . reported that
                                                 their refusal or vaccine questions had
  20                                             been addressed in their subsequent
  21                                             health encounters,” id. ¶ 19(a), and
                                                 Lompoc should “[i]mmediately
  22                                             incorporate vaccine engagement into
  23                                             all chronic care encounters with
                                                 patients who have refused
  24                                             vaccination,” id. ¶ 29(b). Furthermore,
  25                                             the Court Expert noted the concerns of
                                                 incarcerated people “that their chronic
  26                                             care levels had been ‘downgraded’ . . .
  27                                             to lessen the frequency of medical
                                                 encounters for their chronic health
  28                                             issues.” Id. ¶ 19(e). This factual
       3723164.1
                                                23
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 24 of 64 Page ID
                                  #:8913



   1
        DEFENDANT-RESPONDENTS’                  PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                          RESPONSES
   3
                                                contention related to chronic care
   4                                            encounters creates a dispute regarding
   5                                            whether these individuals are, in fact,
                                                being seen and counseled about the
   6                                            vaccine at such encounters. See also
   7                                            Torres Decl. ¶¶ 2-4.

   8
        73. FCC Lompoc has conducted 2,083      NOT DISPUTED.
   9    home confinement reviews pursuant to
  10    the Court’s Preliminary Injunction,
        with more reviews being conducted as
  11    FCC Lompoc runs monthly updates to
  12    the class list.

  13
        74. From these reviews, 129 inmates     NOT DISPUTED.
  14    were preliminarily approved for home
  15    confinement and 39 were approved for
        transfer to a Residential Reentry
  16    Center.
  17
  18    75. As of May 4, 2021, 141 class        NOT DISPUTED.
        members had been placed in home
  19    confinement, 215 were transferred to
  20    an RRC, 82 were granted
        compassionate release, 124 were
  21    released, and 153 were transferred.
  22
  23    76. The BOP has increased the home      NOT DISPUTED.
        confinement population by
  24    approximately 200% from March 2020
  25    through December 2020 and has
        transferred over 22,800 inmates to
  26    home confinement.
  27
  28
       3723164.1
                                               24
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 25 of 64 Page ID
                                  #:8914



   1
        DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                             RESPONSES
   3
   4    77. The BOP set temporary population       NOT DISPUTED.
        targets for low and minimum-security
   5    institutions with open bay housing. As
   6    of May 24, 2021, at FCC Lompoc, the
        COVID-19 population target for the
   7    Camp is 309 inmates (even though
   8    there are 412 beds), for the North
        Camp is 120 inmates (though there are
   9    160 beds), and the FCI is 824 (though
  10    there are 1,522 beds).
  11
        78. FCC Lompoc’s current population        NOT DISPUTED.
  12
        of 1,891 is a 29% population reduction
  13    from the 2,680 population alleged in
        the Complaint and well below the
  14
        number of beds in the facility.
  15
  16    79. The Court appointed Dr. Homer          NOT DISPUTED.
        Venters pursuant to Federal Rule of
  17
        Evidence 706 to conduct a site visit of
  18    FCC Lompoc and prepare a report.
  19
  20    80. Dr. Venters first visited FCC          NOT DISPUTED.
        Lompoc on September 1-2, 2020.
  21
  22    81. Dr. Venters’ first report was filed    NOT DISPUTED.
  23    with the Court on September 25, 2020.

  24
        82. Dr. Venters’ first report made         NOT DISPUTED.
  25    recommendations about FCC Lompoc.
  26
  27    83. Dr. Venters conducted a second         NOT DISPUTED.
        visit of FCC Lompoc on April 20-21,
  28
       3723164.1
                                                  25
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 26 of 64 Page ID
                                  #:8915



   1
        DEFENDANT-RESPONDENTS’                    PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                            RESPONSES
   3
        2021.
   4
   5    84. Dr. Venters’ second report was        NOT DISPUTED.
   6    filed with the Court at Dkt. 239-1.

   7
        85. Dr. Venters’ second report makes      NOT DISPUTED.
   8    recommendations about FCC Lompoc.
   9
  10    86. Dr. Jeffrey Beard believes that to    DISPUTED. Respondents have
        the extent Dr. Venters’                   proposed an opinion, not a fact.
  11    recommendations were not already          Additionally, Dr. Beard is not qualified
  12    being implemented by FCC Lompoc,          to opine on this subject. Dr. Beard has
        those recommendations were either         no formal medical training, no
  13    inconsistent with CDC guidance; or        epidemiology training, is not licensed
  14    based on claims made by unidentified      to provide clinical care, and has not
        inmates about problems they were          provided any sort of clinical care in
  15    allegedly experiencing.                   over 40 years. Beard Dep. at 27:11-
  16                                              29:15. He acknowledges that he is not
                                                  an expert in medical care delivery in
  17                                              prisons, id. at 29:22-24, or in infection
  18                                              control in prisons, id. at 30:10-12.
                                                  Finally, Petitioners dispute the facts
  19                                              upon which Dr. Beard’s opinion is
  20                                              based. First, Petitioners dispute Dr.
                                                  Beard’s assessment that Lompoc was
  21                                              already carrying out recommendations
  22                                              made by the Court Expert. Compare
                                                  Declaration of Jeffery Beard (“Beard
  23                                              Decl.”) ¶ 101 (Dkt. No. 251-4)
  24                                              (asserting that Lompoc “does have a
                                                  system in place” to deal with
  25                                              assessment for ongoing COVID-19
  26                                              symptoms among those who have
                                                  survived the infection), with Court
  27                                              Expert Supp. Report at 24 (Dkt. No.
  28                                              239-1) (criticizing “[t]he lack of
       3723164.1
                                                 26
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 27 of 64 Page ID
                                  #:8916



   1
        DEFENDANT-RESPONDENTS’                    PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                            RESPONSES
   3
                                                  standardized tracking and attention to
   4                                              the severity and improvement in the[]
   5                                              health issues” of individuals who have
                                                  survived COVID-19). Second, the
   6                                              Court Expert’s recommendations were
   7                                              consistent with CDC guidance. See,
                                                  e.g., Court Expert Supp. Report ¶ 28(a)
   8                                              (Dkt. No. 239-1) (faulting Lompoc for
   9                                              “fail[ing] to engage with patients”
                                                  around vaccine education, in
  10                                              contravention of specific CDC
  11                                              guidance). Each of the Court Expert’s
                                                  recommendations were consistent with
  12                                              both CDC and BOP guidance and
  13                                              designed to “prevent morbidity and
                                                  mortality.” Venters Dep. at 279:17-19,
  14                                              290:19-291:1. Third, the Court
  15                                              Expert’s recommendations were based
                                                  on interviews with staff and
  16                                              incarcerated people, review of BOP’s
  17                                              COVID-19 Pandemic Response Plan,
                                                  review of CDC Guidelines, review of
  18                                              documentation during the Court
  19                                              Expert’s on-site tours of Lompoc, and
                                                  the Court Expert’s two on-site tours of
  20                                              the facility. See Court Expert’s Supp.
  21                                              Report at 2-16 (Dkt. No. 239-1).
  22
        87. Dr. Jeffrey Beard visited FCI         NOT DISPUTED, to the extent
  23    Terminal Island on September 8, 2020      Respondents’ Proposed Fact No. 87
  24    and April 20-21, 2021.                    intended to identify Lompoc, not FCI
                                                  Terminal Island, as the site of Dr.
  25                                              Beard’s initial and supplemental visits.
  26
  27    88. Dr. Beard has reviewed Plaintiff’s    NOT DISPUTED.
        complaint, the actions taken by the
  28
       3723164.1
                                                 27
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 28 of 64 Page ID
                                  #:8917



   1
        DEFENDANT-RESPONDENTS’                   PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                           RESPONSES
   3
        BOP and FCC Lompoc in response to
   4    COVID-19, and has reviewed Dr.
   5    Venters’ two reports regarding FCC
        Lompoc.
   6
   7    89. Dr. Beard determined and opined      DISPUTED. Respondents have
   8    that FCC Lompoc is currently managed     proposed an opinion, not a fact.
        by a knowledgeable, effective Warden     Petitioners dispute the facts upon
   9    and management team, and the facility    which Dr. Beard’s opinion is based.
  10    is clean and well maintained.            First, Petitioners dispute that the
                                                 management team at Lompoc is
  11                                             “effective.” To the contrary, the Court
  12                                             Expert concluded in his supplemental
                                                 report that there is “clear evidence of
  13                                             the need for external oversight of this
  14                                             health system” at Lompoc. Court
                                                 Expert Supp. Report ¶ 30 (Dkt. No.
  15                                             239-1). Second, Petitioners dispute that
  16                                             the facility is “well maintained.”
                                                 According to the Court Expert,
  17                                             “[t]hroughout the facilities I inspected,
  18                                             it was clear that some people either had
                                                 no access to soap or paper towels or
  19                                             that access had been provided in the
  20                                             days before my inspection.” Id.
                                                 ¶ 28(c).
  21
  22    90. Dr. Beard determined and opined      DISPUTED. Respondents have
  23    that at the time of his visit, the       proposed an opinion, not a fact.
        management team was complying with       Additionally, Dr. Beard is not qualified
  24    both BOP direction and CDC guidance      to opine on this subject. DF 86.
  25    relative to managing COVID-19 in a       Petitioners dispute the facts upon
        correctional facility.                   which Dr. Beard’s opinion is based.
  26                                             See DF 1.
  27
  28    91. FCC Lompoc released 25% of its       DISPUTED. Respondents have
       3723164.1
                                                28
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 29 of 64 Page ID
                                  #:8918



   1
        DEFENDANT-RESPONDENTS’                      PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                              RESPONSES
   3
        inmate population from the time of          proposed an opinion, not a fact.
   4    Attorney General Barr’s memo on             Petitioners also dispute the facts upon
   5    March 26, 2020 to September 4, 2020.        which Dr. Beard’s opinion is based. To
        Dr. Beard believes that this was a          the extent that Respondents propose
   6    larger proportion than many other state     that Lompoc’s incarceration population
   7    and federal facilities around the           was reduced by 25% between March
        country.                                    26, 2020 to September 4, 2020, this is
   8                                                incorrect. New admissions to Lompoc
   9                                                continued throughout the pandemic.
                                                    See Figlenski Decl. ¶ 12 (Dkt. No. 251-
  10                                                2) (discussing intake procedures for
  11                                                new admissions of incarcerated people
                                                    to Lompoc). Accordingly, the total
  12                                                population at Lompoc was not reduced
  13                                                by 25%.

  14
        92. Dr. Beard determined and opined         DISPUTED. Respondents have
  15    that the vaccination program at FCC         proposed an opinion, not a fact.
  16    Lompoc is going very well.                  Additionally, Dr. Beard is not qualified
                                                    to opine on this subject. See DF 86.
  17                                                Petitioners also dispute the facts upon
  18                                                which Dr. Beard’s opinion is based.
                                                    See AUF 38-47, 49-54 (undisputed
  19                                                facts regarding inadequacy of
  20                                                vaccination program at Lompoc).
  21
        93. Dr. Beard determined and opined         DISPUTED. Respondents have
  22    that Dr. Venters relies on unidentified     proposed an opinion, not a fact.
  23    inmates in reaching his conclusions and     Additionally, Dr. Beard is not qualified
        often makes recommendations not             to opine on this subject. DF 86.
  24    grounded in CDC guidance. He also           Petitioners also dispute the facts upon
  25    does not offer scientific standards upon    which Dr. Beard’s opinion is based. Id.
        which the recommendations are based.
  26
  27    94. Dr. Beard determined and opined         DISPUTED. Respondents have
  28    that Dr. Venters’ methodology for           proposed an opinion, not a fact.
       3723164.1
                                                   29
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 30 of 64 Page ID
                                  #:8919



   1
        DEFENDANT-RESPONDENTS’                    PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                            RESPONSES
   3
        surveying inmates is not a credible or    Additionally, Dr. Beard is not qualified
   4    sound source of unbiased or reliable      to opine on this subject. DF 86.
   5    information. A random sample of           Petitioners also dispute the facts upon
        inmates would have been a better          which Dr. Beard’s belief is based. First,
   6    source of information.                    Dr. Beard acknowledged at his
   7                                              deposition that he was unable to
                                                  identify specific information reported
   8                                              by incarcerated people to the Court
   9                                              Expert that, in his view, was either
                                                  reliable or unreliable. Beard Dep. at
  10                                              175:12-20. When asked if he had “any
  11                                              specific support, meaning academic
                                                  studies, scholarship, reports, articles,
  12                                              support for the theory that identifying
  13                                              oneself as a doctor or a Court expert
                                                  will solicit unreliable information,” Dr.
  14                                              Beard confirmed that he did not. Id. at
  15                                              173:13-17; 174:1. Second, both of the
                                                  Court Expert’s reports do contain
  16                                              information from a random sample of
  17                                              incarcerated people and there is no
                                                  evidence that the Court Expert
  18                                              manipulated the sample of incarcerated
  19                                              people with whom he spoke; the
                                                  reports’ plain language indicates that
  20                                              the did not preselect incarcerated
  21                                              people who would offer only criticism
                                                  of FCC Lompoc. See, e.g., Court
  22                                              Expert Supp. Report ¶ 19(g) (Dkt. No.
  23                                              239-1) (“Nine people reported concerns
                                                  about delays in chronic care and sick
  24                                              call responses, while four reported that
  25                                              access to care had improved since my
                                                  last inspection.”).
  26
  27    95. Dr. Beard determined and opined       DISPUTED. Respondents have
  28    that the BOP continues to update its      proposed an opinion, not a fact.
       3723164.1
                                                 30
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 31 of 64 Page ID
                                  #:8920



   1
        DEFENDANT-RESPONDENTS’                     PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                             RESPONSES
   3
        COVID-19 policies and procedures to        Additionally, Dr. Beard is not qualified
   4    follow CDC guidelines.                     to opine on this subject. DF 86.
   5                                               Petitioners also dispute the facts upon
                                                   which Dr. Beard’s belief is based. Dr.
   6                                               Beard was unable to explain why
   7                                               Lompoc, a BOP institution, failed to
                                                   update its COVID-19 policies and
   8                                               procedures regarding solid-door
   9                                               quarantine in accordance with
                                                   established CDC guidelines prior to
  10                                               Lompoc’s December 2020 COVID-19
  11                                               outbreak in intake quarantine. Beard
                                                   Dep. at 108:21-24; 109:3-11. See also
  12                                               DF 1.
  13
  14    96. Respondents retained                   DISPUTED. Respondents have
        epidemiologist Asma Tekbali to opine       proposed an opinion, not a fact.
  15    as an expert on FCC Lompoc’s               Moreover, Petitioners dispute the facts
  16    infection control and testing              upon which Ms. Tekbali’s belief is
        procedures.                                based and dispute that Ms. Tekbali is
  17                                               qualified to opine as an expert on
  18                                               Lompoc’s infection control practices.
                                                   See DF 6.
  19
  20    97. Ms. Tekbali bore the lead              NOT DISPUTED.
  21    responsibility as an Infection
        Preventionist at Lenox Hill Hospital-
  22    Northwell Health
  23
  24    98. Her hospital was at the center of      NOT DISPUTED.
        dealing with New York’s COVID-19
  25    crisis and is believed to have admitted
  26    and cared for the most COVID-19
        patients in the world.
  27
  28
       3723164.1
                                                  31
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 32 of 64 Page ID
                                  #:8921



   1
        DEFENDANT-RESPONDENTS’                    PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                            RESPONSES
   3
   4    99. To prepare her opinion on FCC         DISPUTED. Respondents have
        Lompoc, Ms. Tekbali reviewed the          proposed an opinion, not a fact.
   5    inspection reports by Dr. Venters and     Moreover, Petitioners dispute the facts
   6    Dr. Beard, as well as underlying          upon which Ms. Tekbali’s belief is
        documentation. She spoke with FCC         based and dispute that Ms. Tekbali is
   7    Lompoc prison governance and              qualified to opine as an expert on
   8    infection control officers.               Lompoc’s infection control practices.
                                                  See DF 6.
   9
  10
        100. Ms. Tekbali explains that the      NOT DISPUTED.
  11    efficacy rate of the Pfizer and Moderna
        vaccines is 94- 95%. The Pfizer
  12
        vaccine was also shown in clinical
  13    trials to be 100% effective at
        preventing severe disease. Data from
  14
        Israel show that the Pfizer and
  15    Moderna vaccines are highly effective
        across all age groups at preventing
  16
        symptomatic and asymptomatic
  17    COVID-19 infections, hospitalizations,
        severe disease and death, including the
  18
        B.1.1.7 variant.
  19
  20    101. Ms. Tekbali opines that “FCC         DISPUTED. Respondents have
  21    Lompoc has effectively responded to a     proposed an opinion, not a fact.
        significant COVID-19 outbreak by          Moreover, Petitioners dispute the facts
  22    collaborating with local health           upon which Ms. Tekbali’s belief is
  23    departments, adapting to and              based and dispute that Ms. Tekbali is
        implementing pandemic response            qualified to opine as an expert on
  24    guidance from the CDC and BOP,            Lompoc’s infection control practices.
  25    constructing a COVID-19 hospital unit,    See DF 6.
        providing masks and materials for hand
  26    hygiene to inmates, and offering
  27    vaccination to essentially all of the
        inmates and staff.”
  28
       3723164.1
                                                 32
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 33 of 64 Page ID
                                  #:8922



   1
        DEFENDANT-RESPONDENTS’                       PLAINTIFFS’-PETITIONERS’
   2    PROPOSED FACT:                               RESPONSES
   3
   4    102. Ms. Tekbali opines that “In their       DISPUTED. Respondents have
        complaint, petitioners request adequate      proposed an opinion, not a fact.
   5    testing and isolation, PPE, and proper       Moreover, Petitioners dispute the facts
   6    treatment and monitoring of inmates ill      upon which Ms. Tekbali’s belief is
        with the virus. Based on the materials I     based and dispute that Ms. Tekbali is
   7    have been provided, I have determined        qualified to opine as an expert on
   8    that FCC Lompoc has met these                Lompoc’s infection control practices.
        requests …”                                  See DF 6.
   9
  10
        103. Ms. Tekbali observes that               DISPUTED. Respondents have
  11    “Another indication of the facility’s        proposed an opinion, not a fact.
        successful effort to stop transmission of    Moreover, Petitioners dispute the facts
  12
        the virus is the fact that there are no      upon which Ms. Tekbali’s belief is
  13    positive inmates at FCC Lompoc, in           based and dispute that Ms. Tekbali is
        contrast to the COVID-19 rates               qualified to opine as an expert on
  14
        prevailing in California. While positive     Lompoc’s infection control practices.
  15    tests have occurred, they have not led       See DF 6.
        to large new outbreaks at the facility,
  16
        which provides further proof that the
  17    infection control measures have been
        effective and proper.”
  18
  19
        104. Ms. Tekbali concludes that “The         DISPUTED. Respondents have
  20    steps the BOP took to respond to and         proposed an opinion, not a fact.
  21    control FCC Lompoc’s outbreak went           Moreover, Petitioners dispute the facts
        beyond CDC and BOP guidance, and             upon which Ms. Tekbali’s belief is
  22    the effectiveness of these actions are       based and dispute that Ms. Tekbali is
  23    reflected today in the lack of any major     qualified to opine as an expert on
        outbreaks at the facility. Particularly      Lompoc’s infection control practices.
  24    given the recent vaccination efforts, I      See DF 6.
  25    believe it is unlikely the facility will
        see a repeat of the spring 2020
  26    outbreak.”
  27
  28
       3723164.1
                                                    33
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 34 of 64 Page ID
                                  #:8923



   1                                             II.
   2     PETITIONERS’ STATEMENT OF ADDITIONAL UNCONTROVERTED
   3                 FACTS AND SUPPORTING EVIDENCE
   4 A.      Office of the Inspector General (OIG) Review
   5        PETITIONERS’ ADDITIONAL
   6      UNCONTROVERTED FACTS AND                          SUPPORTING EVIDENCE
          SUPPORTING EVIDENCE (“AUF”)
   7
   8    1. In July 2020, the Office of the Inspector
           General published a report with its
   9       findings from a remote inspection that
  10       had been undertaken between April 23
           and May 1, 2020, “to understand how the       Norman Decl. ¶ 15 & Ex. 14
  11       COVID-19 pandemic affected the                (OIG Report at i) (parenthetical
  12       [Lompoc] and to assess the steps Lompoc       omitted); see DF 15.
           officials took to prepare for, prevent, and
  13       manage COVID-19 transmission within
  14       its facilities.”
  15    2. According to the July 2020 OIG Report,
                                                         Norman Decl. ¶ 15 & Ex. 14
  16       “The OIG’s BOP-wide survey in late
                                                         (OIG Report at ii). See also id.
           April 2020 reflected that Lompoc staff
  17                                                     (OIG Report at 11) (“However,
           identified as immediate needs at that time
                                                         55 percent (60 of 109) of Lompoc
  18       more personal protective equipment for
                                                         staff who responded to our
           staff and hygiene supplies for inmates,
  19                                                     survey reported that more
           additional staff to cover posts, and more
                                                         hygiene supplies for staff was an
  20       space to quarantine inmates.”
                                                         immediate need . . . .”).
  21     3. The OIG found “[a] preexisting shortage
  22         of medical staff,” “[a]n insufficient
             number of correctional staff members,”
  23         and “lack of a permanent leadership
  24         team” as contributing factors to
                                                         Norman Decl. ¶ 15 & Ex. 14
             Respondents’ failure to mitigate COVID-
  25                                                     (OIG Report at ii).
             19 transmission. In particular, the OIG
  26         found that staffing shortages negatively
             impacted the facility’s ability to screen
  27         people for symptoms of COVID-19 and
  28         implement staff movement restrictions.
       3723164.1
                                                    34
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 35 of 64 Page ID
                                  #:8924



   1          PETITIONERS’ ADDITIONAL
   2        UNCONTROVERTED FACTS AND                      SUPPORTING EVIDENCE
            SUPPORTING EVIDENCE (“AUF”)
   3
   4
   5 B.            Screening and Testing

   6        PETITIONERS’ STATEMENT OF
          ADDITIONAL UNCONTROVERTED                      SUPPORTING EVIDENCE
   7
        FACTS AND SUPPORTING EVIDENCE
   8    4. In May 2020, more than 1,000 of the         Plaintiff-Petitioners’ Complaint ¶
   9       2,680 people incarcerated at Lompoc         2 (Dkt. No. 1); Respondents
           tested positive for COVID-19.               Answer to Corrected Complaint
  10                                                   ¶ 1 (Dkt. No. 102).
  11                                                   See COVID-19 Data on each
                                                       BOP facility, maintained by the
  12    5. By June 1, 2020, at least four incarcerated OIG, available at:
  13       people at Lompoc had died of COVID-19. https://experience.arcgis.com/ex
                                                       perience/ab22fb4c564e4f4b
  14                                                   986e257c685190e8/page
  15                                                   /page_2/
        6. Respondents never conducted mass testing Defendant-Respondents’ Motion
  16       at the United States Penitentiary (USP) at for Summary Judgment at 12-13
  17       Lompoc.                                     (Dkt. No. 251); Respondents’
                                                       PMK Dep. at 216:16-20.
  18    7. Respondents do not require staff to         See Respondents’ PMK Dep. at
  19       undergo regular COVID-19 screening          70:9-20; Figlenski Decl. ¶ 5 &
           testing.                                    Ex. 1 (Dkt. No. 251-2 at 19-20).
  20
  21                                                   Respondents’ PMK Dep. at 67:4-
                                                       68:13; Norman Decl. ¶ 21 & Ex.
  22                                                   20 (CDC, Interim Guidance for
  23                                                   SARS-CoV-2 Testing in
                                                       Correctional and Detention
  24    8. Symptom screenings may not detect staff
                                                       Facilities) (“Symptom
           with asymptomatic infections.
  25                                                   screenings cannot identify
                                                       persons with COVID-19 who
  26                                                   may be asymptomatic or pre-
  27                                                   symptomatic, and therefore will
                                                       not prevent all persons with
  28                                                   COVID-19 from entering the
       3723164.1
                                               35
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 36 of 64 Page ID
                                  #:8925



   1      PETITIONERS’ STATEMENT OF
   2     ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
        FACTS AND SUPPORTING EVIDENCE
   3                                                     facility.”).
   4    9. Respondents do not require new staff to
                                                         Figlenski Decl. ¶ 5 & Ex. 1 (Dkt.
           undergo testing for COVID-19.
   5                                                     No. 251-2 at 13-25).

   6                                                   Respondents’ PMK Dep. at
                                                       110:20-111:6 (Respondents do
   7                                                   not “specifically require them to
   8                                                   be tested,” but merely “make
                                                       those COVID tests available to
   9    10.Respondents do not require staff identified
                                                       staff . . . [s]hould they wish to
           as close contacts of people infected with
  10                                                   have a COVID test”); Figlenski
           COVID-19 to undergo COVID-19 testing.
                                                       Decl. ¶ 5 & Ex. 1 (Dkt. No. 251-
  11                                                   2 at 16) (stating under “Guidance
  12                                                   for Staff with Potential Exposure
                                                       to COVID-19” that “[a] negative
  13                                                   COVID-19 test is not required
  14                                                   for staff to return to work”).
        11.As of April 26, 2021, Respondents did not
  15       have any current problems with testing      Respondents’ PMK Dep. at 58:8-
  16       supplies.                                   11.
  17    12.During the Court Expert’s first inspection,
  18       he found that Respondents’ screening
           deficiencies increase the risk “that patients
  19                                                     Court Expert Init. Report ¶ 37 (a)
           will become seriously ill or die from
                                                         (Dkt. No. 101-1).
  20       COVID- 19 and also increase the potential
           spread of the virus.”
  21
  22     13.Although prison leadership repeatedly told
             the Court Expert “that every detained
  23         person who works outside their housing
  24         area” was screened for COVID-19
             symptoms on a daily basis before they        Court Expert Init. Report ¶
  25         start work, none of the incarcerated people 37(a)(ii) (Dkt. No. 101-1).
  26         he spoke with who work outside their
             housing area reported ever having been
  27         screened as a part of their work detail, the
  28         correctional officers he spoke with did not
       3723164.1
                                                   36
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 37 of 64 Page ID
                                  #:8926



   1        PETITIONERS’ STATEMENT OF
   2      ADDITIONAL UNCONTROVERTED                       SUPPORTING EVIDENCE
         FACTS AND SUPPORTING EVIDENCE
   3       appear familiar with the process, and the
   4       screenings were not documented
           anywhere.
   5                                                    Court Expert Supp. Report ¶
   6                                                    28(b) (Dkt. No. 239-1) (“I am
        14.During the Court Expert’s April 2021         dismayed that despite multiple
   7       inspection, despite assurances from          assurances on my first inspection
   8       leadership that COVID-19 symptom             that this process [of screening
           screenings were occurring, incarcerated      incarcerated workers for
   9       people assigned to work outside of their     COVID-19] was in place, and
  10       housing unit were not in fact being          clear evidence that it was not, I
           screened for COVID-19.                       returned six months later to be
  11                                                    told once again that this was
  12                                                    process was occurring and find
                                                        the same complete lack of
  13                                                    screening of workers.”).
  14
  15 C.            Healthcare and Mortality Reviews
  16        PETITIONERS’ STATEMENT OF
  17      ADDITIONAL UNCONTROVERTED                  SUPPORTING EVIDENCE
        FACTS AND SUPPORTING EVIDENCE
  18
        15.In his initial report, the Court Expert
  19       found that Lompoc had a “grossly        Court Expert Init. Report ¶ 39
           inadequate system of health care.”      (Dkt. No. 101-1).
  20
  21    16.Delays in chronic care can significantly
           increase the risk of serious illness or death
  22
           from COVID-19 since poorly controlled         Court Expert Init. Report ¶
  23       health problems are associated with worse 37(b)(ii) (Dkt. No. 101-1).
           COVID-19 outcomes.
  24
  25    17.In his initial report, the Court Expert
           concluded that medical staff at Lompoc
  26                                                    Court Expert Init. Report ¶7
           often fail to address requests for medical
  27                                                    (b)(i) (Dkt. No. 101-1).
           care in a timely manner, requiring people
  28       to wait a week or longer for a response to
       3723164.1
                                                 37
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 38 of 64 Page ID
                                  #:8927



   1        PETITIONERS’ STATEMENT OF
   2      ADDITIONAL UNCONTROVERTED                     SUPPORTING EVIDENCE
        FACTS AND SUPPORTING EVIDENCE
   3       their healthcare requests.
   4    18.The Court Expert opined that the
           provision of timely carsick call and
                                                      Court Expert Init. Report ¶ 37(b)
   5       chronic care encounters is “central to the
                                                      (Dkt. No. 101-1).
   6       facility[’s] COVID-19 response.”

   7    19.The Court Expert discovered that although
   8       multiple people at Lompoc who died of
           COVID-19 had not received daily COVID
   9       assessments after testing positive, and
                                                     Court Expert Init. Report ¶ 34(a)-
  10       others had delayed chronic care
                                                     (c) (Dkt. No. 101-1).
           appointments, Respondents’ mortality
  11       reviews did not identify a single
  12       deficiency in care.

  13    20.At the conclusion of his first report, the
  14       Court Expert made a series of
           recommendations to rectify the various
  15       problems he identified. One of his
  16       recommendations was that Respondents
                                                      Court Expert Init. Report ¶ 38
           “utilize basic quality assurance tools to
  17                                                  (Recommendation 4) (Dkt. No.
           measure and report in their quality
                                                      101-1).
  18       meeting the percentage of sick call
           requests that are seen in a timely manner,
  19       as well as the percentage of chronic care
  20       encounters that occur in a timely manner.”
  21                                                      See Respondents’ PMK Dep. at
  22                                                      94:24-95:3 (unaware of any
                                                          changes made to implement
  23                                                      COVID-19 screening of
         21.In April 2021, Respondents were unable
  24                                                      incarcerated workers), id. at
             to identify any steps that they had taken in
                                                          179:19-21 (same with respect to
  25         response to the Court Expert’s first report.
                                                          the mortality review process), id.
  26                                                      at 130:15-22 (same with respect
                                                          to post-isolation healthcare
  27                                                      practices for COVID patients),
  28                                                      id. at 155:13-16, 156:11-16
       3723164.1
                                                    38
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 39 of 64 Page ID
                                  #:8928



   1     PETITIONERS’ STATEMENT OF
   2    ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
       FACTS AND SUPPORTING EVIDENCE
   3                                                     (same with respect to the
   4                                                     implementation of social
                                                         distancing, institutional cleaning,
   5                                                     disinfecting, or mask changes).
   6   22.During the Court Expert’s April 2021
          inspection, nine people he interviewed
   7                                                     Court Expert Supp. Report ¶
          about sick call response times and chronic
                                                         19(g) (Dkt. No. 239-1).
   8      care appointments still reported delays.

   9   23.The Court Expert identified a number of
  10      problems with Respondents’ mortality
          reviews when he returned in April 2021.
  11      The Court Expert has led or conducted
  12      “well over 100 mortality reviews,” and         Court Expert Supp. Report ¶¶
          indicated in his report that “it is rare for   28(e), 29 (Recommendation 8)
  13      there to be no areas of deficiency or          (Dkt. No. 239-1).
  14      improvement in a single case,” and
          proceeded to identify numerous “clear
  15      deficiencies” with Respondents’ care.
  16
       24.During the Court Expert’s April 2021
  17      inspection, he highlighted Respondents’
  18      failure to identify and track chronic or
          long-term COVID-19 symptoms, leaving
  19      him “concerned that the burden of              Court Expert Supp. Report ¶¶ 11,
  20      mortality, and certainly morbidity from        29 (Dkt. No. 239-1).
          ongoing or ‘long’ COVID-19 is
  21      unappreciated by the BOP.”
  22
  23
  24 D.     Infection Control and Prevention
  25
              PETITIONERS’ STATEMENT OF
  26       ADDITIONAL UNCONTROVERTED                       SUPPORTING EVIDENCE
  27    FACTS AND SUPPORTING EVIDENCE
       25.Lompoc staff have internally complained         Norman Decl. ¶ 12 & Ex. 11
  28       that the prison has failed to respond          (LOX 3862) (custody officer
     3723164.1
                                                 39
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 40 of 64 Page ID
                                  #:8929



   1       PETITIONERS’ STATEMENT OF
   2      ADDITIONAL UNCONTROVERTED                        SUPPORTING EVIDENCE
         FACTS AND SUPPORTING EVIDENCE
   3      adequately to the COVID-19 pandemic.             correspondence to “command
   4                                                       center,” stating that “I have
                                                           been through various scenarios
   5                                                       through the years but by far this
   6                                                       is the most anemic & pathetic
                                                           response I have ever seen” and
   7                                                       enumerating specific failures of
   8                                                       Lompoc leadership in its
                                                           pandemic response).
   9   26.Respondents’ policy allows Lompoc
                                                           Norman Decl. ¶ 14 & Ex. 13
  10      medical staff up to three days to respond to
                                                           (FCC Lompoc’s Local
          reports of COVID-related symptoms, such
  11                                                       Procedure for Inmate Sick Call
          as coughs and sore throats.
                                                           During COVID-19).
  12
       27.In his initial report, the Court Expert found
  13      that multiple housing units did not have
  14      paper towels for people to dry their hands
          after washing them, and other units had
  15      only broken, automated hand dryers, one of
  16      which had been inoperable for over a year.       Court Expert Init. Report ¶
          Spaces that previously housed suspected or       37(c) (Dkt. No. 101-1).
  17      confirmed COVID-19 cases were either not
  18      sanitized at all or were cleaned by
          incarcerated people who were often not
  19      wearing masks.
  20
       28.In his initial report, the Court Expert found
  21      that Respondents lack “basic quality
  22      assurance in the approach that leadership
                                                           Court Expert Init. Report ¶ 38
          takes, not only for staffing, but in access to
  23                                                       (Dkt. No. 101-1).
          sick call, chronic care and
  24      cleaning/disinfecting.”
  25
       29.During the Court Expert’s April 2021
  26       inspection, he found that incarcerated          Court Expert Supp. Report ¶¶
           workers were forced to sit two to a seat        19(d), 20(c), 30 (Dkt. No. 239-
  27
           when being transported around the facility      1).
  28       on a bus, doubling its capacity from his last
     3723164.1
                                                40
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 41 of 64 Page ID
                                  #:8930



   1         PETITIONERS’ STATEMENT OF
   2       ADDITIONAL UNCONTROVERTED                          SUPPORTING EVIDENCE
          FACTS AND SUPPORTING EVIDENCE
   3       visit and preventing any social distancing.
   4       He also found that several housing units
           remained without soap or paper towels or
   5       were stocked with those supplies as a
   6       staging effort only shortly before his visit to
           present the illusion of compliance. He
   7       described in his report “[t]he performative
   8       nature of how” certain areas at Lompoc
           “were ‘prepared’ for [his] inspection.”
   9
  10    30.During his April 2021 inspection, the lack
           of access to basic hygiene supplies at
  11       Lompoc left the Court Expert with “a
  12       pessimistic assessment about how seriously        Court Expert Supp. Report ¶ 30
           the facility and the BOP take their own           (Dkt. No. 239-1).
  13       policies, the guidelines of the CDC and
  14       basic infection control.”

  15    31.In March 2021, Lompoc conducted an
  16       internal audit of their COVID-19 policies
           and practices. The audit determined that      Norman Decl. ¶ 6 & Ex. 5
  17       social distancing guidelines are not properly (LOX 145-147).
  18       enforced at the institution.
  19
  20
  21 E.       Quarantine and Isolation
  22           PETITIONERS’ STATEMENT OF
  23        ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
          FACTS AND SUPPORTING EVIDENCE
  24     32.FCC Lompoc required a cessation of all
  25         intake on December 31, 2020, because
             Respondents were unable to control an
  26                                                         Norman Decl. ¶ 7 & Ex. 6
             outbreak of COVID-19: according to the
                                                             (LOX 732).
  27         warden at the time, “our efforts [to contain
             the spread] have been unsuccessful”
  28         because “USP Lompoc has open bar cell
       3723164.1
                                                   41
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 42 of 64 Page ID
                                  #:8931



   1        PETITIONERS’ STATEMENT OF
   2       ADDITIONAL UNCONTROVERTED                        SUPPORTING EVIDENCE
          FACTS AND SUPPORTING EVIDENCE
   3       doors in its housing units.”
   4                                                     Figlenski Decl. ¶ 5 & Ex. 1
        33.Respondents do not place all staff identified
                                                         (Dkt. No. 251-2 at 16);
   5       as close contacts of COVID-19 infected
                                                         Respondents’ PMK Dep. at
           individuals on a 14-day quarantine.
   6                                                     107:9-15, 108:2-4, 215:13-
                                                         216:14.
   7    34.Respondents do not modify the job duties
   8       of staff identified as close contacts, do not
           require them to monitor their temperature
   9                                                     Respondents’ PMK Dep. at
           while working, and do not require them to
                                                         109:9-25.
  10       prescreen for temperature and symptoms at
           home before reporting to work.
  11
  12    35.During the Court Expert’s first inspection
           of Lompoc in September 2020, he found
  13       that people in quarantine and isolation units
  14       lacked access to basic privileges. He
           advised that “housing of people for 22-24
  15       hours per day in cells, without access to
                                                         Court Expert Init. Report ¶¶
  16       basic privileges including phone and out of
                                                         37(d), 38 (Dkt. No. 101-1).
           cell time is not appropriate and runs
  17       counter to CDC guidelines . . . .” He
  18       recommended that Respondents “provide
           basic services and freedoms to people in
  19       quarantine and medical isolation.”
  20
        36.When the Court Expert returned for his
  21       second inspection of Lompoc in April
  22       2021, he again found that Lompoc had an
           inappropriately punitive approach to
  23                                                     Court Expert Supp. Report ¶¶
           quarantine. He emphasized that “there is no
                                                         28(d), 29 (Dkt. No. 239-1).
  24       excuse for denial of basic services and
           rights to people under the guise of infection
  25
           control.”
  26
        37.The CDC Guidance for correctional               Norman Decl. ¶ 20 & Ex. 19
  27
           facilities states that facilities should        (CDC, Interim Guidance on
  28       “[e]nsure that medical isolation for            Management of Coronavirus
       3723164.1
                                                      42
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 43 of 64 Page ID
                                  #:8932



   1        PETITIONERS’ STATEMENT OF
   2       ADDITIONAL UNCONTROVERTED                    SUPPORTING EVIDENCE
          FACTS AND SUPPORTING EVIDENCE
   3       COVID-19 is distinct from punitive solitary Disease 2019 (COVID-19) in
   4       confinement of incarcerated/detained        Correctional and Detention
           individuals, both in name and in practice.” Facilities).
   5
   6
   7 F.            Vaccination Program
   8       PETITIONERS’ STATEMENT OF
   9     ADDITIONAL UNCONTROVERTED                    SUPPORTING EVIDENCE
        FACTS AND SUPPORTING EVIDENCE
  10    38.Before the vaccines arrived at Lompoc,
  11       Respondents posted an alert to
           TRULINCS, stating only that “[i]t’s very Norman Decl. ¶ 8 & Ex. 7 (LOX
  12       important that all inmates interested in 1071) (December 2020
  13       receiving the vaccine are present during TRULINCS alert)
           these times.”
  14
  15    39.A one-page flyer posted in the housing
                                                          Norman Decl. ¶ 13 & Ex. 12
           units before the vaccines arrived included
  16                                                      (LOX 5476) (February 2021
           no information regarding the safety of the
                                                          email instructing staff to post
  17       COVID-19 vaccine for individuals with
                                                          flyer); id. (LOX 5477) (one-page
           underlying health conditions.
  18                                                      flyer about COVID-19 vaccines).
  19    40.Apart from signs posted in certain parts
           of Lompoc, and vaccine alerts circulated
  20
           via TRULINCS, Lompoc made no effort            Torres Decl. ¶ 5; Mitchell Decl.
  21       to educate incarcerated people about the       ¶ 2; Beard Dep. at 138:13-18.
           vaccine prior to its arrival to Lompoc.
  22
  23    41.Lompoc has provided no town hall-style
           information sessions to educate                Mitchell Decl. ¶ 5; Tekbali Dep.
  24
           incarcerated people about the COVID-19         at 130:23-25, 131:1-6; Beard
  25       vaccine.                                       Dep. at 133:24-25, 134:1-6.
  26
        42.Lompoc offered the vaccine to                  Court Expert Supp. Report ¶¶
  27       incarcerated people in large settings,         19(a), 28(a) (Dkt. No. 239-1);
  28       either in their housing area, a dining hall,   Mitchell Decl. ¶ 3.
       3723164.1
                                                  43
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 44 of 64 Page ID
                                  #:8933



   1     PETITIONERS’ STATEMENT OF
   2    ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
       FACTS AND SUPPORTING EVIDENCE
   3     or other setting. Health staff made a
   4     general announcement about vaccination
         and then called each person one at a time
   5     to either take the vaccine or sign a
   6     refusal.

   7   43.Incarcerated individuals with heart
   8      disease, diabetes, cancer, asthma,
          inflammatory bowel disease, kidney
   9      disease, emphysema, immune disease,
  10      seizure disorder, hypertension (included
          poorly controlled hypertension), Hepatitis Court Expert Supp. Report at 9
  11      C, and prior medication allergies had      (Table 1) (Dkt. No. 239-1);
  12      health-related questions before deciding   Mitchell Decl. ¶ 2.
          whether to accept the vaccine that were
  13      unanswered and no subsequent discussion
  14      occurred with these individuals about
          their questions.
  15
  16   44.There was not—nor has there been since
                                                        Court Exp. Supp. Report ¶¶ 19(a),
          this first offering—an opportunity for
  17                                                    28(a) (Dkt. No. 239-1); Torres
          incarcerated people to ask questions
                                                        Decl. ¶¶ 2-4; Mitchell Decl. ¶¶ 4-
  18      about the safety of the vaccine.
                                                        5.
  19   45.None of the individuals spoken to by the
  20      Court Expert who refused the vaccine
                                                        Court Expert Supp. Report ¶
          reported being subsequently contacted by
  21                                                    19(a) (Dkt. No. 239-1). See also
          health staff to discuss their reasons for
                                                        Mitchell Decl. ¶ 4.
  22      refusal.
  23   46.None of the individuals spoken to by the
  24      Court Expert who refused the vaccine
          reported that their refusal or vaccine        Court Expert Supp. Report ¶
  25      questions had been addressed in their         19(a) (Dkt. No. 239-1).
  26      subsequent health encounters.
  27   47.Lompoc’s approach to vaccination has          Court Expert Supp. Report ¶
  28       the effect of creating a pool of extremely   28(a) (Dkt. No. 239-1).
     3723164.1
                                                  44
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 45 of 64 Page ID
                                  #:8934



   1      PETITIONERS’ STATEMENT OF
   2    ADDITIONAL UNCONTROVERTED                   SUPPORTING EVIDENCE
       FACTS AND SUPPORTING EVIDENCE
   3      high-risk unvaccinated patients.
   4   48.Respondents’ Expert Asma Tekbali stated
          that vaccine education is “a cornerstone
   5      in vaccine uptake.” She also stated: “I
   6      think any reasonable individual is going Tekbali Dep. at 88:1-5. See also
          to ask questions when something’s being id. at 89:5-7.
   7      put into their body that they are
   8      unfamiliar with.”

   9   49.Respondents have taken a passive
  10      approach to vaccinating staff and            Court Exp. Supp. Rep. ¶ 30 (Dkt.
          incarcerated people at Lompoc.               No. 239-1).
  11
  12   50.The Court Expert recommended that
          “[t]he vaccination program at Lompoc
  13      BOP should be substantially expanded to
  14      increase the rates of vaccination of staff   Court Expert Supp. Report ¶ 29
          and ensure that high-risk people have        (Dkt. No. 239-1).
  15      their questions and concerns about
  16      vaccination addressed.”
  17   51.Respondents have made no effort to
  18      survey staff about their attitudes toward
          the COVID-19 vaccines, about who had
  19                                                   Court Expert Supp. Report ¶
          been vaccinated outside the BOP, or
                                                       28(a) (Dkt. No. 239-1).
  20      about what incentives would increase
          vaccine uptake.
  21
  22   52. The only vaccine education identified by
          Respondents’ PMK deponent that took
  23                                                   Respondents’ PMK Dep. at
          place before the arrival of vaccines was
                                                       32:22-25, 33:1-6.
  24      education of executive staff.
  25   53.Before the vaccines arrived, Lompoc’s
  26       education for staff about the vaccine
                                                      Respondents’ PMK Dep. at
           consisted of “fliers,” emails about “where
  27                                                  53:19-25, 54:1-2.
           they can do research on their own
  28       independently,” and “information
     3723164.1
                                                 45
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 46 of 64 Page ID
                                  #:8935



   1      PETITIONERS’ STATEMENT OF
   2     ADDITIONAL UNCONTROVERTED                        SUPPORTING EVIDENCE
        FACTS AND SUPPORTING EVIDENCE
   3      disseminated on conference calls and
   4      shift calls to staff.”

   5    54.Lompoc has not undertaken any of the
   6       various “strategies for building vaccine
           confidence” among staff promoted by the
   7                                                  Compare AUF 85 with Court
           CDC, such as providing incentives to get
                                                      Expert Supp. Report ¶ 29(a) (Dkt.
   8       vaccinated or encouraging staff who have
                                                      No. 239-1).
           been vaccinated to share their reasons for
   9       doing so at staff meetings.
  10
        55.Dr. Anthony Fauci, director of the U.S.
  11       National Institute of Allergy and
  12       Infectious Diseases, opined: “If you have     Norman Decl. ¶ 19 & Ex. 18
           75%–80% of the people get vaccinated,         (O’Reilly, The hurdles we face
  13       you create an umbrella of herd                before reaching herd immunity)
  14       immunity.”

  15
  16
       G.          Immunity and Risk
  17
           PETITIONERS’ STATEMENT OF
  18     ADDITIONAL UNCONTROVERTED                        SUPPORTING EVIDENCE
  19    FACTS AND SUPPORTING EVIDENCE
        56.The California Department of Corrections
  20
           and Rehabilitation (CDCR) reports 60%
                                                         See Cal. Dep’t of Corr. & Rehab.,
  21       of those incarcerated at California State
                                                         Population COVID Tracking,
           Prison, Solano are fully vaccinated, as are
  22                                                     https://www.cdcr.ca.gov/
           50% of staff. Yet the prison is in the
                                                         covid19/population-status-
  23       midst of a significant outbreak: as of June
                                                         tracking/ (last accessed June 8,
           8, 2021, 83 patients had tested positive
  24                                                     2021).
           for the virus in a recent 14-day period.
  25
        57.Public health experts do not know how         See Norman Decl. ¶ 34 & Ex. 33
  26
           long natural immunity from COVID-19           (CDC, Answering Patients’
  27       infection lasts.                              Questions About COVID-19
  28                                                     Vaccine and Vaccination);
       3723164.1
                                                46
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 47 of 64 Page ID
                                  #:8936



   1     PETITIONERS’ STATEMENT OF
   2    ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
       FACTS AND SUPPORTING EVIDENCE
   3                                                    Norman Decl. ¶ 18 & Ex. 17
   4                                                    (Naushin et al., Insights from a
                                                        Pan India Sero-Epidemiological
   5                                                    survey) (finding “about 20% of
   6                                                    seropositive individuals lack
                                                        meaningful neutralization activity
   7                                                    after 5–6 months” and concluding
   8                                                    “the duration of such immunity
                                                        may not be sufficient to prevent
   9                                                    future outbreaks, even in highly
  10                                                    affected regions”).
                                                        See Norman Decl. ¶ 16 & Ex. 15
  11                                                    (Andreano & Rappuoli, SARS-
       58.Public health experts do not know what
  12                                                    CoV-2 escaped natural immunity,
          degree of protection, if any, natural
                                                        raising questions about vaccines
  13      immunity from COVID-19 infection
                                                        and therapies); id. ¶ 17 & Ex. 16
          provides against new variants of the
  14                                                    (Karim & de Oliveira, New
          coronavirus.
                                                        SARS-CoV-2 Variants —
  15                                                    Clinical, Public Health, and
  16                                                    Vaccine Implications).
       59.As of June 8, 2021, the CDC has
  17      identified five “variants of concern”—
  18      defined as “variant[s] for which there is
          evidence of an increase in
  19      transmissibility, more severe disease
  20      (e.g., increased hospitalizations or          Norman Decl. ¶ 39 & Ex. 38
          deaths), significant reduction in             (CDC, SARS-CoV-2 Variant
  21      neutralization by antibodies generated        Classifications and Definitions)
  22      during previous infection or vaccination,     (emphasis added).
          reduced effectiveness of treatments or
  23      vaccines, or diagnostic detection
  24      failures”—that are currently circulating in
          the United States.
  25
  26   60.The CDC’s guidance on new variants
                                                        Norman Decl. ¶ 35 & Ex. 34
           states that “we do not know . . . how the
  27                                                    (CDC, COVID-19 Vaccines and
           new COVID-19 variants will affect how
                                                        New Variants of the Virus).
  28       COVID-19 vaccines work in real-world
     3723164.1
                                                 47
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 48 of 64 Page ID
                                  #:8937



   1      PETITIONERS’ STATEMENT OF
   2    ADDITIONAL UNCONTROVERTED                SUPPORTING EVIDENCE
       FACTS AND SUPPORTING EVIDENCE
   3      conditions.”
   4   61.Two “variants of concern” were first See Norman Decl. ¶ 36 & Ex. 35
          identified in California.            (CDC, About Variants of the
   5
                                               Virus that Causes COVID-19)
   6
   7
       H.    Centers for Disease Control and Prevention (“CDC”) Guidelines
   8
           PETITIONERS’ STATEMENT OF
   9
         ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
  10    FACTS AND SUPPORTING EVIDENCE
  11   62.The CDC advises that “[l]iving in prisons
                                                           Norman Decl. ¶ 33 & Ex. 32
          and jails puts you at higher risk for getting
  12                                                       (CDC, COVID-19: For People
          COVID-19.”
                                                           Living in Prisons and Jails).
  13
       63.The CDC advises that “the risk of severe
  14                                                       Norman Decl. ¶ 34 & Ex. 33
          illness and death from COVID-19 far
                                                           (CDC, Answering Patients’
  15      outweighs any benefits of natural
                                                           Questions About COVID-19
          immunity.”
  16                                                       Vaccine and Vaccination).

  17   64.The CDC Guidance states that “[f]requent
                                                           Norman Decl. ¶ 21 & Ex. 20
          testing for Severe Acute Respiratory
  18                                                       (CDC, Interim Guidance for
          Coronavirus-2 (SARS-CoV-2) is an
                                                           SARS-CoV-2 Testing in
  19      important prevention measure in
                                                           Correctional and Detention
          correctional and detention facilities.”
  20                                                       Facilities).

  21   65.The CDC has advised that screening testing
                                                           Norman Decl. ¶ 21 & Ex. 20
          of staff “is a key component of a layered
  22                                                       (CDC, Interim Guidance for
          approach to prevent SARS-CoV-2
                                                           SARS-CoV-2 Testing in
  23      transmission” and “should be considered in
                                                           Correctional and Detention
          all facilities.”
  24                                                       Facilities).
  25   66.The CDC recommends “[t]esting of all
                                                           Norman Decl. ¶ 21 & Ex. 20
           staff before entering the facility every 3–7
  26                                                       (CDC, Interim Guidance for
           days,” as well as “[t]argeted testing of new
                                                           SARS-CoV-2 Testing in
  27       staff, those returning from a prolonged
                                                           Correctional and Detention
           absence, travel, or other concerns related to
  28                                                       Facilities).
           exposure.”
     3723164.1
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 49 of 64 Page ID
                                  #:8938



   1        PETITIONERS’ STATEMENT OF
   2       ADDITIONAL UNCONTROVERTED                        SUPPORTING EVIDENCE
          FACTS AND SUPPORTING EVIDENCE
   3
   4    67.The CDC advises that, in correctional
                                                            Norman Decl. ¶ 21 & Ex. 20
           facilities, “[b]ecause of the potential for
   5                                                        (CDC, Interim Guidance for
           asymptomatic and pre-symptomatic
                                                            SARS-CoV-2 Testing in
   6       transmission unvaccinated close contacts . .
                                                            Correctional and Detention
           . should quarantine and be tested.”
   7                                                        Facilities).

   8    68.Regarding testing close contacts, the CDC        Norman Decl. ¶ 20 & Ex. 19
           states: “Testing is recommended for all          (CDC, Interim Guidance on
   9       close contacts of persons with SARS-CoV-         Management of Coronavirus
  10       2 infection, regardless of whether the close     Disease 2019 (COVID-19) in
           contacts have symptoms.”                         Correctional and Detention
  11                                                        Facilities).
  12    69.Regarding quarantine of staff exposed to         Norman Decl. ¶ 20 & Ex. 19
           COVID-19, the CDC recommends staff               (CDC, Interim Guidance on
  13       “self-quarantine at home for 14 days,            Management of Coronavirus
  14       unless a shortage of critical staff precludes    Disease 2019 (COVID-19) in
           quarantine.”                                     Correctional and Detention
  15                                                        Facilities).
  16                                                        Norman Decl. ¶ 21 & Ex. 20
        70.The CDC Guidance states that
                                                            (CDC, Interim Guidance for
  17       unvaccinated close contacts “may be
                                                            SARS-CoV-2 Testing in
           permitted to work only as a last resort.”
  18                                                        Correctional and Detention
                                                            Facilities).
  19    71.The CDC Guidance states that
                                                            Norman Decl. ¶ 21 & Ex. 20
  20       unvaccinated close contacts should be
                                                            (CDC, Interim Guidance for
           placed on a “modified quarantine” at work,
  21                                                        SARS-CoV-2 Testing in
           limiting their contact with other staff and
                                                            Correctional and Detention
  22       incarcerated people.
                                                            Facilities).
  23    72.The CDC recommends that prison officials
  24       “[c]onsider serial screening testing for         Norman Decl. ¶ 21 & Ex. 20
           people who are assigned to critical work         (CDC, Interim Guidance for
  25       duties within the facility (e.g., food service   SARS-CoV-2 Testing in
  26       or laundry) that require them to leave their     Correctional and Detention
           housing unit.”                                   Facilities).
  27
  28    73.The CDC recommends that correctional             Norman Decl. ¶ 20 & Ex. 19
       3723164.1
                                            49
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 50 of 64 Page ID
                                  #:8939



   1        PETITIONERS’ STATEMENT OF
   2       ADDITIONAL UNCONTROVERTED                      SUPPORTING EVIDENCE
          FACTS AND SUPPORTING EVIDENCE
   3       facilities “[i]mplement social distancing     (CDC, Interim Guidance on
   4       strategies to increase the physical space     Management of Coronavirus
           between incarcerated/detained persons”        Disease 2019 (COVID-19) in
   5                                                     Correctional and Detention
   6                                                     Facilities).
        74.The CDC Guidance for Correctional
   7       Facilities that “[c]orrectional facility
                                                         Norman Decl. ¶ 21 & Ex. 20
   8       administrators should establish daily
                                                         (CDC, Interim Guidance for
           symptom and/or temperature screening to
   9                                                     SARS-CoV-2 Testing in
           identify staff, visitors, and
                                                         Correctional and Detention
  10       incarcerated/detained persons with signs or
                                                         Facilities).
           symptoms consistent with COVID-19.”
  11
  12    75.The CDC’s Guidance for Correctional
                                                         Norman Decl. ¶ 20 & Ex. 19
           Facilities recommends “[p]rovid[ing]
  13                                                     (CDC, Interim Guidance on
           incarcerated/detained persons and staff no-
                                                         Management of Coronavirus
  14       cost access” to “soap,” “running water,”
                                                         Disease 2019 (COVID-19) in
           and “hand drying machines or disposable
  15                                                     Correctional and Detention
           paper towels for hand washing.”
                                                         Facilities).
  16
                                                         Norman Decl. ¶ 37 & Ex. 36
  17                                                     (March 2020 CDC Guidance on
  18                                                     COVID-19 in Correctional and
                                                         Detention Facilities) (“Ideally,
  19    76.Since March 2020, the CDC has strongly        each quarantined individual
  20       urged that incarcerated people on             would be quarantined in a
           quarantine be placed in cells with solid      single cell with solid walls and
  21       doors and solid walls.                        a solid door that closes.”); id. ¶
  22                                                     20 & Ex. 19 (CDC, Interim
                                                         Guidance on Management of
  23                                                     Coronavirus Disease 2019
  24                                                     (COVID-19) in Correctional
                                                         and Detention Facilities).
  25    77.The CDC’s “Toolkit for Correctional and       Norman Decl. ¶ 27 & Ex. 26
  26       Detention Facilities” includes, under         (CDC, Toolkit for Correctional
           “Featured Resources,” a “Toolkit [for]        and Detention Facilities);
  27       COVID-19 Vaccines at Long-term Care.”         Norman Decl. ¶ 26 & Ex. 25
  28                                                     (CDC, Long-Term Care
       3723164.1
                                               50
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 51 of 64 Page ID
                                  #:8940



   1      PETITIONERS’ STATEMENT OF
   2     ADDITIONAL UNCONTROVERTED                           SUPPORTING EVIDENCE
        FACTS AND SUPPORTING EVIDENCE
   3                                                        Facility Toolkit).
   4                                                        Norman Decl. ¶ 26 & Ex. 25
       78.The Long-Term Care toolkit includes a set
                                                            (CDC, Long-Term Care
   5      of resources entitled, “Preparing Residents
                                                            Facility Toolkit); id. ¶ 28 & Ex.
          for COVID-19 Vaccination.”
   6                                                        27 (CDC, Preparing Residents
                                                            for COVID-19 Vaccination).
   7   79.The CDC’s “Preparing Residents for
   8      COVID-19 Vaccination” toolkit is geared
                                                            Norman Decl. ¶ 28 & Ex. 27
          toward individuals with “increased risk of
   9                                                        (CDC, Preparing Residents for
          infection and severe illness from COVID-
                                                            COVID-19 Vaccination).
  10      19.”

  11   80.The CDC’s guidelines recommend that
  12      facilities “talk with residents . . . about       Norman Decl. ¶ 28 & Ex. 7
          COVID-19 vaccination in your facility,            (CDC, Preparing Residents for
  13      even before vaccines arrive.”                     COVID-19 Vaccination).
  14
       81.The CDC, via its toolkit for correctional
  15      facilities, encourages facilities to “[s]eek to
                                                            Norman Decl. ¶ 28 & Ex. 7
  16      understand your residents’ concerns and
                                                            (CDC, Preparing Residents for
          provide information they need in a way
  17                                                        COVID-19 Vaccination).
          they can understand.”
  18
       82.The CDC, via its toolkit for correctional
  19      facilities, encourages facilities to “[h]ost
                                                       Norman Decl. ¶ 28 & Ex. 7
  20      virtual town hall meetings for residents and
                                                       (CDC, Preparing Residents for
          families where they can ask questions, and
  21                                                   COVID-19 Vaccination).
          you can address their concerns.”
  22
       83.The CDC, via its toolkit for correctional
  23      facilities, encourages facilities to directly     Norman Decl. ¶ 29 & Ex. 28
  24      address patients’ concerns with how the           (CDC, How to talk to your
          COVID-19 vaccine will affect their                patients about COVID-19
  25      underlying health conditions.                     vaccination).
  26
       84.The CDC recommends that “[s]taff at            Norman Decl. ¶ 30 & Ex. 29
  27       correctional and detention facilities” should (CDC, COVID-19 Vaccine
  28       be “encouraged to get a COVID-19              FAQs in Correctional and
     3723164.1
                                                  51
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 52 of 64 Page ID
                                  #:8941



   1        PETITIONERS’ STATEMENT OF
   2       ADDITIONAL UNCONTROVERTED                         SUPPORTING EVIDENCE
          FACTS AND SUPPORTING EVIDENCE
   3       vaccination.”                                    Detention Centers)
   4
        85.The CDC has promoted various “strategies
   5       for building vaccine confidence,” such as
   6       providing incentives to get vaccinated or        Norman Decl. ¶ 38 & Ex. 37
           encouraging staff who have been                  (CDC, Preparing Staff for
   7       vaccinated to share their reasons for doing      COVID-19 Vaccination).
   8       so at staff meetings.

   9                                                        Norman Decl. ¶ 31 & Ex. 30
  10                                                        (CDC, Interim Public Health
        86.While the CDC has recommended
                                                            Recommendations for Fully
  11       eliminating some COVID-19 related
                                                            Vaccinated People); id. ¶ 32 &
           restrictions for fully vaccinated people in
  12                                                        Ex. 31 (CDC,
           the general public, it has explicitly stated
                                                            Recommendations for
  13       that these protections—including testing,
                                                            Quarantine Duration in
           mask wearing, and quarantining after
  14                                                        Correctional and Detention
           exposure—should continue in congregate
                                                            Facilities); id. ¶ 21 & Ex. 20
  15       settings such as prisons and homeless
                                                            (CDC, Interim Guidance for
           shelters.
  16                                                        SARS-CoV-2 Testing in
                                                            Correctional and Detention
  17                                                        Facilities).
  18
  19                                               III.
  20       PETITIONERS’ RESPONSE TO RESPONDENTS’ CONCLUSIONS OF
  21                                              LAW
  22               1.    Summary judgment is proper where there is no genuine issue as to any
  23 material fact and the moving party is entitled to judgment as a matter of law. Fed. R.
  24 Civ. P. 56(a). A plaintiff must adduce evidence “sufficient to support a verdict in
  25 [his] favor on every element of [his] claim for which [he] will carry the burden of
  26 proof.” In re Apple Computer Sec. Litig., 886 F.2d 1109, 1113 (9th Cir. 1989).
  27               CONTESTED.
  28               Summary judgment is appropriate only when there is “no genuine dispute as
       3723164.1
                                                    52
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 53 of 64 Page ID
                                  #:8942



   1 to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
   2 R. Civ. P. 56(a). Any fact that “might affect the outcome of the suit under the
   3 governing law” is material. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
   4 (1986). The moving party on summary judgment bears the initial burden of
   5 “identifying those portions of the pleadings and discovery responses which
   6 demonstrate the absence of a genuine issue of material fact.” Cunningham v. City of
   7 Los Angeles, 2004 WL 502309, at *2 (C.D. Cal. Feb. 18, 2004) (citing Celotex Corp
   8 v. Catrett, 477 U.S. 317, 323 (1986)) (Marshall, J.). In order to defeat a motion for
   9 summary judgment, the non-moving party need only demonstrate that there is any
  10 specific fact that presents “a genuine issue for trial.” Anderson, 477 U.S. at 250. In
  11 weighing the facts propounded by the respective parties, “the Court does not make
  12 credibility determinations or weigh conflicting evidence and draws all inferences in
  13 the light most favorable to the nonmoving party.” Cunningham, 2004 WL 502309,
  14 at *2 (citing T.W. Elec. Svc., Inc. v. Pacific Elec. Contractors Ass’n, 809 F.2d 626,
  15 630–31 (9th Cir. 1987)) (emphasis added) (Marshall, J.).
  16
  17         2.    Reasonable efforts taken to reduce COVID-19 risk cannot rise to an
  18 Eighth Amendment violation even where those efforts were imperfect and the harm
  19 imposed by COVID-19 was “ultimately not averted.” Wilson v. Williams, 961 F.3d
  20 829, 840 (6th Cir. 2020) (quoting Farmer, 511 U.S. at 844); Valentine v. Collier,
  21 956 F.3d 797, 801 (5th Cir. 2020); Swain v. Junior, 961 F.3d 1276, 1286 (11th Cir.
  22 2020); Cameron v. Bouchard, 815 Fed. Appx. 978, 986 (6th Cir. 2020) (rejecting
  23 plaintiffs’ attempts to distinguish Williams because their “argument at most shows
  24 that defendants’ response was imperfect”).
  25         CONTESTED.
  26         In Valentine v. Collier, 993 F.3d 270 (5th Cir. 2021), the Fifth Circuit
  27 declined to find prison officials deliberately indifferent because the court’s orders
  28 had “motivat[ed] the prison officials into action” and they had corrected the prison’s
     3723164.1
                                               53
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 54 of 64 Page ID
                                  #:8943



   1 violations by the time of trial. Id. at 289 (footnote omitted). In Wilson v. Williams,
   2 961 F.3d 829 (6th Cir. 2020), the Sixth Circuit determined that the BOP responded
   3 reasonably to the outbreak at one prison through measures such as testing “in
   4 accordance with CDC guidance” and “continuous access to sinks, water, and soap.”
   5 Id. at 840-41. In Swain v. Junior, 961 F.3d 1276 (11th Cir. 2020), the district court
   6 order under review “relied overwhelmingly—if not exclusively” on two factors: the
   7 ongoing spread of COVID-19 and the impossibility of physical distancing at the jail.
   8 Id. at 1286. The Court of Appeals reversed because (1) the spread of COVID alone
   9 does not show a culpable state of mind, and (2) jail officials cannot be deliberately
  10 indifferent for failing to do the impossible. Id. at 1287. Each of these cases is
  11 distinguishable given the factual situation at Lompoc.
  12
  13         3.     Broad latitude must be given to the local officials entrusted with
  14 protecting the health and safety of its citizens. Calvary Chapel Dayton Valley v.
  15 Sisolak, No. 19A1070, 2020 WL 4251360 (U.S. July 24, 2020); South Bay United
  16 Pentecostal Church v. Newsom, 140 S.Ct. 1613-1614 (May 29, 2020) (officials’
  17 decisions “should not be subject to second-guessing by an unelected federal
  18 judiciary, which lacks the background, competence, and expertise to assess public
  19 health and is not accountable to the people.”)
  20         CONTESTED.
  21         The Eighth Amendment protects those in detention against conditions of
  22 confinement that are “very likely to cause serious illness and needless suffering.”
  23 Helling v. McKinney, 509 U.S. 25, 33 (1993) (“It would be odd to deny an
  24 injunction to inmates who plainly proved an unsafe, life threatening condition in
  25 their prison on the ground that nothing yet had happened to them.”). When prison
  26 authorities “strip [prisoners] of virtually every means of self-protection and
  27 foreclose[] their access to outside aid, [they] are not free to let the state of nature
  28 take its course.” Farmer v. Brennan, 511 U.S. 825, 834 (1994).
     3723164.1
                                             54
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 55 of 64 Page ID
                                  #:8944



   1
   2               4.   In a conditions-of-confinement case, a prison official violates the
   3 prohibition against “cruel and unusual punishments,” U.S. Const. Amend. VIII,
   4 “only when two requirements”—one objective, the other subjective—“are met.”
   5 Farmer v. Brennan, 511 U.S. 825, 834, 846 (1994).
   6               NOT CONTESTED.
   7
   8               5.   To satisfy the Eighth Amendment standards, prison officials must
   9 ensure that inmates receive adequate food, clothing, shelter, and medical care, and
  10 must “take reasonable measures to guarantee the safety of the inmates.” Id. at 832.
  11               NOT CONTESTED.
  12
  13               6.   Inmates alleging Eighth Amendment violations based on unsafe prison
  14 conditions must demonstrate that prison officials were deliberately indifferent to
  15 their health or safety by subjecting them to a substantial risk of harm. Id. at 834.
  16               NOT CONTESTED.
  17
  18               7.   Prison officials display a deliberate indifference to an inmate’s well-
  19 being when they consciously disregard an excessive risk of harm to the inmate’s
  20 health or safety. Id. at 838-40.
  21               NOT CONTESTED.
  22
  23               8.   It is “only ‘the unnecessary and wanton infliction of pain’ … [which]
  24 constitutes cruel and unusual punishment forbidden by the Eighth Amendment.
  25 Whitley v. Albers, 475 U.S. 612, 619 (1986) (quoting Ingraham v. Wright, 430 U.S.
  26 651, 670 28 (1977)).
  27               NOT CONTESTED.
  28
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        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 56 of 64 Page ID
                                  #:8945



   1         9.    To obtain injunctive relief, Petitioners must demonstrate that “prison
   2 authorities’ current attitudes and conduct” meet the “high legal standard” of
   3 deliberate indifference, and will continue to do so in the future. Toguchi v. Chung,
   4 391 F.3d 1051, 1060 (9th Cir. 2004) (emphasis added); Farmer, 511 U.S. at 845.
   5         NOT CONTESTED.
   6
   7         10.   The “objective prong” of the Eighth Amendment requires a showing
   8 that an inmate has been deprived “of the minimal civilized measure of life’s
   9 necessities.’” Farmer, 511 U.S. at 834.
  10         NOT CONTESTED.
  11
  12         11.   Petitioners cannot show that the BOP is depriving them of the
  13 “minimal civilized measure of life’s necessities” or “violating contemporary
  14 standards of decency” in addressing the risk of harm to inmates that COVID-19
  15 presents.
  16         CONTESTED.
  17         This is not a statement of law, but is instead a conclusory assertion about the
  18 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  19 motion sets out the reasons why this statement is false.
  20
  21         12.   “A prison official’s duty under the Eighth Amendment is to ensure
  22 reasonable safety.” Farmer, 511 U.S. at 844.
  23         NOT CONTESTED.
  24
  25         13.   Petitioners cannot meet the objective prong of the deliberate
  26 indifference standard because FCC Lompoc’s response is aligned with official
  27 guidance from leading world health authorities for mitigating the risks associated
  28 with the pandemic. FCC Lompoc has vastly decreased any risk of outbreak by
     3723164.1
                                          56
       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 57 of 64 Page ID
                                  #:8946



   1 adhering to the CDC guidelines. Measures including staff screening, mask wearing,
   2 and testing and quarantine procedures for newly arriving inmates have kept new
   3 COVID-19 cases at bay.
   4               CONTESTED.
   5               This is not a statement of law, but is instead a conclusory assertion about the
   6 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
   7 motion sets out the reasons why this statement is false.
   8
   9               14.   FCC Lompoc’s COVID-19 practices are the same measures that society
  10 deems capable of reducing the risk of COVID-19 transmission, and thus reflect the
  11 manner in which “today’s society chooses to tolerate” that risk. Helling, 509 U.S. at
  12 36; Grinis, 2020 WL 2300313, at *3 (“These affirmative steps may or may not be
  13 the best possible response to the threat of COVID-19 within the institution, but they
  14 undermine an argument that the respondents have been actionably deliberately
  15 indifferent to the health risks of inmates.”); Nellson, 2020 WL 3000961, at *8
  16 (finding no likelihood of success on merits of Eighth Amendment conditions-of-
  17 confinement claim due to COVID-19 and noting that “[c]ompliance with CDC
  18 protocols does not demonstrate that defendants are disregarding a substantial risk to
  19 inmate health or failing to respond reasonably to the risks of COVID-19”).
  20               CONTESTED.
  21               This is not a statement of law, but is instead a conclusory assertion about the
  22 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  23 motion sets out the reasons why this statement is false.
  24
  25               15.   “[A] mere difference of medical opinion is insufficient, as a matter of
  26 law, to establish deliberate indifference.” Toguchi v. Chung, 391 F.3d 1051, 1058
  27 (9th Cir. 2004) (internal quotations marks and citation omitted)).
  28               NOT CONTESTED.
       3723164.1
                                                      57
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 58 of 64 Page ID
                                  #:8947



   1
   2               16.   An inmate who the BOP offers “the ability and opportunity to take
   3 measures to markedly reduce [their] risk of severe illness or death from COVID-19
   4 while incarcerated,” but who rejects such measures, cannot reasonably continue to
   5 accuse the BOP of being indifferent to their COVID-19 risk, to the point of violating
   6 the Eighth Amendment by inflicting cruel and unusual punishment on them.
   7               CONTESTED.
   8               This is not a statement of law, but is instead a conclusory assertion about the
   9 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  10 motion sets out the reasons why this statement is false.
  11
  12               17.   Petitioners also fail to satisfy the subjective prong of their Eighth
  13 Amendment claim, which requires them to show that Respondents “kn[ew] of and
  14 disregard[ed] an excessive risk to inmate health or safety.” Farmer, 511 U.S. at 837.
  15               CONTESTED.
  16               This is not a statement of law, but is instead a conclusory assertion about the
  17 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  18 motion sets out the reasons why this statement is false.
  19
  20               18.   The subjective prong requires that “the official must both be aware of
  21 facts from which the inference could be drawn that a substantial risk of serious harm
  22 exists, and he must also draw the inference.” Id.
  23               NOT CONTESTED.
  24
  25               19.   The Eighth Amendment does not require perfect results. See id. at 844
  26 (“prison officials who actually knew of a substantial risk to inmate health or safety
  27 may be found free from liability if they responded reasonably to the risk, even if the
  28 harm ultimately was not averted”).
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                                                       58
        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 59 of 64 Page ID
                                  #:8948



   1            NOT CONTESTED.
   2
   3            20.   Petitioners cannot demonstrate that BOP officials currently are acting
   4 with deliberate indifference and cannot show that today, Respondents are recklessly
   5 disregarding an excessive risk to Petitioners’ safety, and that they will continue to
   6 do so “into the future.” Id. at 845.
   7            CONTESTED.
   8            This is not a statement of law, but is instead a conclusory assertion about the
   9 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  10 motion sets out the reasons why this statement is false.
  11
  12            21.   Where a prisoner “seeks injunctive relief to prevent a substantial risk of
  13 serious injury from ripening into actual harm, the subjective factor . . . should be
  14 determined in light of the prison authorities’ current attitudes and conduct[.]” Id. at
  15 845 (internal quotation marks omitted).
  16            NOT CONTESTED.
  17
  18            21.1 BOP officials have not acted with deliberate indifference to the risk that
  19 COVID-19 poses to inmate populations; rather, they have taken aggressive and
  20 appropriate measures to abate that risk at FCC Lompoc.
  21            CONTESTED.
  22            This is not a statement of law, but is instead a conclusory assertion about the
  23 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  24 motion sets out the reasons why this statement is false.
  25
  26
  27   1
          Respondents’ Proposed Conclusions Of Law contained two entries numbered 21.
  28 See Dkt. No. 251-1 at 26-27.
     3723164.1
                                            59
           PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                            DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 60 of 64 Page ID
                                  #:8949



   1               22.   Although Petitioners and Respondents have minor fact disputes over
   2 the implementation about these measures, even if Petitioners’ allegations are true, it
   3 does not rise to the level of deliberate indifference. See Wragg, 2020 WL 2745247,
   4 at *21 (no Eighth Amendment violation because there is “no evidence of
   5 Respondents’ liable state of mind” and noting “physical distancing is not possible in
   6 a prison setting, as Petitioners urge, does not an Eighth Amendment claim make
   7 and, as such, Petitioners are not likely to succeed on the merits”); Money v. Pritzker,
   8 453 F.Supp.3d at 1131 (prisoner petitioners have “no chance of success” as to
   9 deliberate indifference because of the measures taken by the Illinois Department of
  10 Corrections).
  11               CONTESTED.
  12               This is not a statement of law, but is instead a conclusory assertion about the
  13 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  14 motion sets out the reasons why this statement is false.
  15
  16               23.   Petitioners cannot succeed on their Eighth Amendment claim given the
  17 actions taken by the BOP at FCC Lompoc. See Farmer, 511 U.S. at 845 (“[P]rison
  18 officials who act reasonably cannot be found liable under the Cruel and Unusual
  19 Punishments Clause.”). There is no dispute of material fact that Respondents acted
  20 with a high degree of care, and were not acting with deliberate indifference that
  21 would transform conditions at FCC Lompoc into an Eighth Amendment
  22 “punishment.”
  23               CONTESTED.
  24               This is not a statement of law, but is instead a conclusory assertion about the
  25 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  26 motion sets out the reasons why this statement is false.
  27
  28               24.   The evidence demonstrates that Respondents acted with an extremely
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        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 61 of 64 Page ID
                                  #:8950



   1 high degree of care, and certainly were not acting with deliberate indifference that
   2 would transform conditions at FCC Lompoc into an Eighth Amendment
   3 “punishment.” See Wilson v. Seiter, 501 U.S. 294, 298, 300 (1991).
   4         CONTESTED.
   5         This is not a statement of law, but is instead a conclusory assertion about the
   6 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
   7 motion sets out the reasons why this statement is false.
   8
   9         25.   No further relief is available as Respondents have already complied
  10 with the Preliminary Injunction in this case. Any further relief ordering inmates to
  11 be transferred to home confinement constitutes a prison release order under the
  12 PLRA which may not be enacted by a single district judge, violates 18 U.S.C. §
  13 3621.
  14         CONTESTED.
  15         This contains multiple statements. As to the first sentence, that is not a
  16 statement of law, but is instead a conclusory assertion about the facts of this action
  17 that remains in dispute. Petitioners’ opposition to Respondents’ motion sets out the
  18 reasons why this statement is false.
  19         As to the second sentence, that is irrelevant for the purposes of this motion.
  20
  21         26.   A district court does not have jurisdiction to challenge the BOP’s
  22 decisions about places of imprisonment. See Reeb v. Thomas, 636 F.3d 1124, 1126-
  23 28 (9th Cir.2011) (courts lack jurisdiction to review BOP placement decisions under
  24 18 U.S.C. 2 §§ 3621-25).
  25         IRRELEVANT.
  26
  27         27.   Petitioners never moved for class certification beyond certifying the
  28 provisional class for purposes of the preliminary injunction and no class is
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 62 of 64 Page ID
                                  #:8951



   1 certifiable at this juncture in light of individual inmates electing to refuse offered
   2 vaccinations.
   3         CONTESTED.
   4         The Federal Rules of Civil Procedure adopt a flexible approach to class
   5 certification, requiring only that the Court certify a class at a “practicable time after
   6 a person sues or is sued as a class representative.” Fed. R. Civ. P. 23(c)(1)(A); see
   7 ABS Entertainment, Inc. v. CBS Corp., 908 F.3d 405, 427 (9th Cir. 2018) (striking
   8 down as incompatible with the Federal Rules a Central District of California Local
   9 Rule which required that Plaintiffs move for class certification within ninety days
  10 after service of the complaint.); City of Inglewood v. City of Los Angeles, 451 F.2d
  11 948, 951 (9th Cir. 1971) (Section (c)(1) of Rule 23 “leaves much room for
  12 discretion” for Court to decide timing of class certification).
  13
  14         28.   The Court’s Preliminary Injunction has expired under 18 U.S.C. §
  15 2626(a)(2).
  16         CONTESTED.
  17         18 U.S.C. § 2626 is not a statute.
  18
  19         29.   Petitioners have failed to exhaust administrative remedies and may not
  20 bring suit for further injunctive relief regarding FCC Lompoc’s response to COVID-
  21 19 until they have fulfilled the PLRA’s exhaustion requirements. Maronyan v.
  22 Toyota Motor Sales, USA, Inc., 658 F.3d 1038, 1041-42 (9th Cir. 2011).
  23         CONTESTED.
  24         As has been extensively briefed on multiple occasions, exhaustion of
  25 administrative remedies is not required here under either 18 USC § 2241 or the
  26 PLRA for three reasons: (1) there is no administrative procedure to be considered
  27 for home confinement under the CARES Act; (2) exhaustion would be futile due to
  28 the urgency of the COVID-19 pandemic; and (3) administrative remedies are
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       PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                        DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 63 of 64 Page ID
                                  #:8952



   1 “effectively unavailable” at this time. (See, e.g., Dkt. No. 18 at 54:16-59:5). When
   2 granting the Preliminary Injunction, the Court found that “Petitioners [met] their
   3 burden of showing exhaustion is excused because administrative remedies are not
   4 available.” (Dkt. No. 45 at 43:10-11) (citations omitted). There is no basis for
   5 overturning that decision now, and Respondents have not attempted to provide one.
   6
   7               30.   Respondents are entitled to summary judgment as to all of Petitioners’
   8 claims.
   9               CONTESTED.
  10               This is not a statement of law, but is instead a conclusory assertion about the
  11 facts of this action that remains in dispute. Petitioners’ opposition to Respondents’
  12 motion sets out the reasons why this statement is false.
  13
  14               31.   Any Undisputed Fact which is deemed a Conclusion of Law shall be
  15 considered a Conclusion of Law.
  16               TAUTALOGICAL AND IRRELEVANT.
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        PLAINTIFFS-PETITIONERS RESPONSES TO DEFENDANTS-RESPONDENTS' STATEMENT OF GENUINE
                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
Case 2:20-cv-04450-CBM-PVC Document 257-1 Filed 06/08/21 Page 64 of 64 Page ID
                                  #:8953



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                         DISPUTES OF MATERIAL FACTS AND CONCLUSIONS OF LAW
